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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                     MDL No. 2924
    PRODUCTS LIABILITY                                              20-MD-2924
    LITIGATION
                                                 JUDGE ROBIN L. ROSENBERG
                                        MAGISTRATE JUDGE BRUCE E. REINHART

    ________________________________/

    THIS DOCUMENT RELATES TO: ALL CASES




               ANSWER AND AFFIRMATIVE DEFENSES OF PFIZER INC.




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              Defendant Pfizer Inc. (“Pfizer”) respectfully submits this Answer and Affirmative

    Defenses (“Answer”) to Plaintiffs’ Second Amended Master Personal Injury Complaint

    (“SAMPIC”).

                                     PRELIMINARY STATEMENT

              The following matters are incorporated by reference into Pfizer’s responses to each

    paragraph of the SAMPIC.

              A.     Pfizer is submitting this Answer only on behalf of itself. Where allegations are

    made against “Defendants” as a group, however described, Pfizer’s responses apply only to

    itself.

              B.     The SAMPIC contains purported references to documents and third-party

    publications and statements that have often been excerpted, paraphrased, mischaracterized, and

    otherwise taken out of context. These documents and third-party publications and statements

    should be considered, if at all, in context and in unmodified form, and Pfizer respectfully refers

    the Court to the respective documents for their accurate and complete contents.

              C.     Except as expressly stated herein, Pfizer denies each and every allegation

    contained in the SAMPIC, including without limitation any allegations contained in the

    preamble, titles, unnumbered paragraphs, headings, subheadings, table of contents, and footnotes

    of the SAMPIC, and specifically denies any liability to Plaintiffs.

              D.     Pfizer reserves the right to seek to amend and supplement this Answer as may be

    appropriate or necessary.




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                     SPECIFIC RESPONSES TO PLAINTIFFS’ COMPLAINT

           In this section, Pfizer adopts the paragraph numbering of the SAMPIC. The Plaintiffs’

    section headings in the SAMPIC are repeated in bold for ease of reference. To the extent that the

    preamble, titles, unnumbered paragraphs, headings, subheadings, table of contents, and footnotes

    of the SAMPIC are intended to be allegations directed to Pfizer, they are, unless specifically

    admitted, denied.

                                            INTRODUCTION

    1.     Pfizer admits only that the active ingredient in branded Zantac is ranitidine, which is an

    H2 receptor antagonist. Except as specifically admitted herein, the allegations in this paragraph

    as to Pfizer are denied. To the extent that the allegations in this paragraph are not directed at

    Pfizer, they require no response from Pfizer. To the extent a response is required, Pfizer lacks

    knowledge or information sufficient to form a belief as to the truth of the allegations of this

    paragraph and, therefore, denies the same.

    2.     Pfizer admits only that during the time that Pfizer marketed over-the-counter (“OTC”)

    Zantac, the medication was taken safely by millions of people. All other allegations in this

    paragraph are denied.

    3.     Pfizer denies each and every allegation in this paragraph.

    4.     Pfizer admits only that the FDA has set an allowable daily limit of NDMA of 96

    nanograms. All other allegations in this paragraph are denied.

    5.     Pfizer denies each and every allegation in this paragraph.

    6.     Pfizer denies each and every allegation in this paragraph.

    7.     Pfizer denies each and every allegation in this paragraph.




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    8.     The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    9.     Pfizer admits only that companies that develop new medications may be afforded certain

    protections by the United States’ legal and regulatory systems. Responding further, the

    allegations in this paragraph are not directed at Pfizer and therefore require no response from

    Pfizer. To the extent a response is required, Pfizer lacks knowledge or information sufficient to

    form a belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

    10.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    11.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    12.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    13.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or



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    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    14.    Pfizer denies each and every allegation in this paragraph.

                                                 PARTIES

                                               PLAINTIFFS

    15.    This paragraph purports to refer to the SAMPIC and the Court’s Orders which speak for

    themselves. To the extent the allegations contained in this paragraph mischaracterize the

    SAMPIC or the Court’s Orders by selectively quoting, omitting, and/or emphasizing certain

    language or by drawing related inferences or stating related opinions, they are denied. The

    allegations contained in this paragraph are otherwise denied.

    16.    Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

    allegations of this paragraph and, therefore, denies the same.

    17.    Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

    allegations of this paragraph and, therefore, denies the same.

                                              DEFENDANTS

    18.    Pfizer admits that from 1993 to 1998, Warner-Lambert was part of a joint venture with

    Glaxo Wellcome that marketed an OTC version of Zantac; that from 1998 to 2000 Warner-

    Lambert held the marketing rights to OTC Zantac in North America; that Pfizer became the

    successor-in-interest to Warner-Lambert in 2000; and that Pfizer held the North American

    marketing rights to OTC Zantac from 2000 to 2006. Except as specifically admitted herein, the

    allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

    paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a




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    response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

    truth of the allegations of this paragraph and, therefore, denies the same.

                                        Boehringer Ingelheim (BI)

    19.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    20.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    21.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    22.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    23.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.



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    24.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

                                         GlaxoSmithKline (GSK)

    25.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    26.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    27.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    28.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.




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                                                   Pfizer

    29.    Pfizer admits only that it is registered in Delaware and that its principal place of business

    is in New York. The remaining allegations contained in this paragraph state a legal conclusion

    as to which no response is required. To the extent the remaining allegations in this paragraph

    require a response, Pfizer denies that the allegations of the SAMPIC are sufficient on their own

    to establish jurisdiction under 28 U.S.C. § 1332. Plaintiffs can only establish jurisdiction under

    28 U.S.C. § 1332 by pleading facts in a Short Form Complaint that show diversity of citizenship.

                                                   Sanofi

    30.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    31.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    32.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    33.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or




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    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    34.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    35.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    36.    The allegations in this paragraph are not directed at Pfizer and therefore require no

    response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

    information sufficient to form a belief as to the truth of the allegations of this paragraph and,

    therefore, denies the same.

    37.    The allegations contained in this paragraph state a legal conclusion as to which no

    response is required. To the extent a response is required, Pfizer admits only that from 1993 to

    1998, Warner-Lambert was part of a joint venture with Glaxo Wellcome that marketed an OTC

    version of Zantac; that from 1998 to 2000 Warner-Lambert held the marketing rights to OTC

    Zantac in North America; that Pfizer became the successor-in-interest to Warner-Lambert in

    2000; and that Pfizer held the North American marketing rights to OTC Zantac from 2000 to

    2006. Except as specifically admitted herein, the allegations in this paragraph as to Pfizer are

    denied. To the extent that the allegations in this paragraph are not directed at Pfizer, they require

    no response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or



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   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

                                       JURISDICTION & VENUE

   38.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   39.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   40.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   41.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   42.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, Pfizer

   denies that the allegations in the SAMPIC are sufficient on their own to establish personal

   jurisdiction over Pfizer. Plaintiffs can only establish personal jurisdiction over Pfizer by

   pleading sufficient case-specific facts in a Short Form Complaint. Pfizer otherwise denies the

   allegations in this paragraph.

   43.       Pfizer admits only that from 1993 to 1998, Warner-Lambert was part of a joint venture

   with Glaxo Wellcome that marketed an OTC version of Zantac; that from 1998 to 2000 Warner-



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   Lambert held the marketing rights to OTC Zantac in North America; that Pfizer became the

   successor-in-interest to Warner-Lambert in 2000; and that Pfizer held the North American

   marketing rights to OTC Zantac from 2000 to 2006. Except as specifically admitted herein, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   44.    Pfizer admits only that from 1993 to 1998, Warner-Lambert was part of a joint venture

   with Glaxo Wellcome that marketed an OTC version of Zantac; that from 1998 to 2000 Warner-

   Lambert held the marketing rights to OTC Zantac in North America; that Pfizer became the

   successor-in-interest to Warner-Lambert in 2000; and that Pfizer held the North American

   marketing rights to OTC Zantac from 2000 to 2006. Except as specifically admitted herein, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   45.    The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, Pfizer

   denies that the allegations in the SAMPIC are sufficient on their own to establish personal

   jurisdiction over Pfizer. Plaintiffs can only establish personal jurisdiction over Pfizer by

   pleading sufficient case-specific facts in a Short Form Complaint. Pfizer otherwise denies the

   allegations in this paragraph.




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   46.       The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                                       FACTUAL ALLEGATIONS

         I. THE CREATION OF RANITIDINE-CONTAINING PRODUCTS AND THEIR
                         INTRODUCTION TO THE MARKET

   47.       Pfizer admits only that from 1993 to 1998, Warner-Lambert was part of a joint venture

   with Glaxo Wellcome that marketed an OTC version of Zantac; that from 1998 to 2000 Warner-

   Lambert held the marketing rights to OTC Zantac in North America; that Pfizer became the

   successor-in-interest to Warner-Lambert in 2000; and that Pfizer held the North American

   marketing rights to OTC Zantac from 2000 to 2006. Except as specifically admitted herein, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   48.       Admitted.

   49.       The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   50.       The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

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   51.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   52.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   53.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph purports to refer to NDA 18-703,

   which speaks for itself. To the extent the allegations contained in this paragraph mischaracterize

   NDA 18-703 by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations contained

   in this paragraph are otherwise denied.

   54.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   55.    The allegations in this paragraph are not directed at Pfizer, which never held the rights to

   prescription Zantac, and therefore require no response from Pfizer. To the extent a response is




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   required, Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   56.    Pfizer admits only that in 1993 Glaxo Wellcome and Warner-Lambert formed a joint

   venture to market an OTC version of Zantac. Pfizer further states that this paragraph purports to

   refer to the cited documents, NDA 20-520, and NDA 20-745, which speak for themselves. To

   the extent the allegations contained in this paragraph mischaracterize these documents by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations contained in this

   paragraph are otherwise denied.

   57.    Pfizer admits only that Glaxo Wellcome and Warner-Lambert ended their joint venture in

   1998 and that, at that time, Warner-Lambert assumed the marketing rights for OTC Zantac in

   North America. Pfizer further states that this paragraph purports to refer to partnership

   agreements, trademark agreements, and cited documents, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize these documents by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations contained in this paragraph are

   otherwise denied.

   58.    Pfizer admits only that from 2000 until 2006 it held the marketing rights to OTC Zantac

   in North America. Pfizer further states that this paragraph purports to refer to the NDAs, which

   speak for themselves. To the extent the allegations contained in this paragraph mischaracterize

   these documents by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations contained

   in this paragraph are otherwise denied.



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   59.    Pfizer admits only that from 2000 until 2006 it held the marketing rights to OTC Zantac

   in North America. Pfizer further states that this paragraph purports to refer to “a divestiture and

   transfer agreement,” which speaks for itself. To the extent the allegations contained in this

   paragraph mischaracterize that document by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations contained in this paragraph are otherwise denied.

   60.    This paragraph refers to NDA 21-698 and related FDA correspondence, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   documents by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations contained in this

   paragraph are otherwise denied.

   61.    Pfizer admits only that for some period GlaxoSmithKline LLC or related entities

   manufactured OTC Zantac for Pfizer and its predecessor-in-interest Warner-Lambert. The

   allegations contained in this paragraph are otherwise denied.

   62.    Pfizer admits only that in 2006 its Consumer Healthcare division was divested to Johnson

   & Johnson and that the rights to OTC Zantac transferred to Boehringer Ingelheim

   Pharmaceuticals, Inc. Pfizer further states that this paragraph refers to a “Stock and Asset

   Purchase Agreement,” which speaks for itself. To the extent the allegations contained in this

   paragraph mischaracterize that document by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations contained in this paragraph are otherwise denied.

   63.    Pfizer admits only that in 2006 the rights to OTC Zantac transferred to Boehringer

   Ingelheim Pharmaceuticals, Inc. Pfizer further states that this paragraph refers to a “divestiture



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   agreement,” which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that document by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations contained in this paragraph are otherwise denied.

   64.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   65.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   66.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   67.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   68.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or




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   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   69.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   70.    Pfizer admits that it has made an indemnification demand to J&J under the Stock and

   Asset Purchase Agreement. The Stock and Asset Purchase Agreement referenced in this

   paragraph speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that document by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   Responding further, to the extent that the allegations in this paragraph are not directed at Pfizer,

   they require no response from Pfizer. To the extent a response is required, Pfizer lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   paragraph and, therefore, denies the same.

   71.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   72.    Pfizer admits only that from 1993 to 1998, Warner-Lambert was part of a joint venture

   with Glaxo Wellcome that marketed an OTC version of Zantac; that from 1998 to 2000 Warner-

   Lambert held the marketing rights to OTC Zantac in North America; that Pfizer became the

   successor-in-interest to Warner-Lambert in 2000; and that Pfizer held the North American



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   marketing rights to OTC Zantac from 2000 to 2006. The allegations contained in this paragraph

   are otherwise denied.

      II. NDMA IS A CARCINOGEN WHOSE DANGEROUS PROPERTIES ARE WELL
                                            ESTABLISHED
   73.     This paragraph refers to cited publications by the EPA and Jane Brody, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   documents by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   74.    This paragraph refers to cited publications by the EPA and IARC, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   documents by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   75.    This paragraph refers to cited IARC statements and underlying data, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   statements or data by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   76.    This paragraph refers to the cited information published by the EPA, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that information

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.



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   77.    This paragraph refers to cited statements and “findings” by the DHHS, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   statements and “findings” by selectively quoting, omitting, and/or emphasizing certain language

   or by drawing related inferences or stating related opinions, they are denied. The allegations in

   this paragraph are otherwise denied.

   78.    This paragraph refers to cited information published by FDA, which speaks for itself. To

   the extent the allegations contained in this paragraph mischaracterize that information by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   79.    This paragraph refers to cited information published by the WHO, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize those statements

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   80.    This paragraph refers to a regulation promulgated by the state of California and the

   corresponding Proposition, which speak for themselves. To the extent the allegations contained

   in this paragraph mischaracterize those statements by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   81.    This paragraph refers to the cited information published by the European Medicines

   Agency, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize those statements by selectively quoting, omitting, and/or emphasizing certain



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   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   82.    This paragraph refers to the cited information published by the Agency for Toxic

   Substances and Disease Registry, which speaks for itself. To the extent the allegations contained

   in this paragraph mischaracterize those statements by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   83.    This paragraph refers to the cited information published by the International Register of

   Potentially Toxic Chemicals (IRPTC 1988), which speaks for itself. To the extent the allegations

   contained in this paragraph mischaracterize that information by selectively quoting, omitting,

   and/or emphasizing certain language or by drawing related inferences or stating related opinions,

   they are denied. The allegations in this paragraph are otherwise denied.

   84.    This paragraph refers to the cited information published by OSHA, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that information

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   85.    Pfizer denies each and every allegation in this paragraph. This paragraph refers generally

   and without citation to “Defendants’ own internal documents,” which speak for themselves. To

   the extent the allegations contained in this paragraph mischaracterize those documents by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.



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   86.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited GSK document,

   which speaks for itself. To the extent the allegations contained in this paragraph mischaracterize

   that document by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   87.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   88.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain




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   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   89.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   90.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Dr. Reddy's

   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   91.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Dr. Reddy's

   documents, which speak for themselves. To the extent the allegations contained in this



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   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   92.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Apotex

   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   93.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Glenmark

   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   94.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Lannett



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   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   95.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Wockhardt

   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   96.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Aurobindo

   documents, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those documents by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   97.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or




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   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   98.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   99.    The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.

   100.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   101.   Pfizer admits only that the FDA has set an allowable daily limit of NDMA of 96

   nanograms. All other allegations in this paragraph are denied. Responding further, this

   paragraph refers to cited statements by the FDA, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those statements by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   102.   This paragraph refers to uncited animal studies, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those studies by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.




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   103.   This paragraph refers to uncited animal studies, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those studies by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   104.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   105.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   106.   This paragraph refers to a cited EPA publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   107.   This paragraph refers to in vitro studies, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those studies by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   108.   This paragraph refers to uncited animal studies, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those studies by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   109.   This paragraph refers to the cited EPA publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively




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   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   110.   This paragraph refers to the cited EPA publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   111.   This paragraph refers to uncited human and animal studies, which speak for themselves.

   To the extent the allegations contained in this paragraph mischaracterize those studies by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   112.   This paragraph refers to the cited Pobel publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   113.   This paragraph refers to the cited La Vecchia publication, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   114.   This paragraph refers to the cited Rogers publication, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.



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   115.   This paragraph refers to the cited Knekt publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   116.   This paragraph refers to the cited Straif publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   117.   This paragraph refers to the cited Loh publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   118.   This paragraph refers to the cited Zhu publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   119.   This paragraph refers to uncited in vivo and in vitro studies as well as to the cited

   publication by the World Health Organization, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize that publication or those studies by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.




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   120.   This paragraph refers to uncited studies, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those studies by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

    III. NDMA IS DISCOVERED IN RANITIDINE-CONTAINING PRODUCTS, LEADING
                                  TO MARKET WITHDRAWL
   121. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the Valisure study, which

   speaks for itself. To the extent the allegations contained in this paragraph mischaracterize that

   document by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   122.   This paragraph refers to the cited statement by Dr. Janet Woodcock of FDA, which

   speaks for itself. To the extent the allegations contained in this paragraph mischaracterize that

   statement by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   123.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a statement published by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph



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   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   124.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited statements

   published by FDA, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those statements by selectively quoting, omitting, and/or emphasizing

   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

   125.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to an uncited statement by

   CVS, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   126.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a statement published by



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   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   127.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to statements by GSK,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those statements by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   128.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a cited statement by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   129.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,



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   therefore, denies the same. Responding further, this paragraph refers to a cited statement by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   130.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a cited statement by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   131.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a cited statement by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   132.   This paragraph refers to a cited publication by FDA, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that publication by selectively



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   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   133.   This paragraph refers to a cited statement by FDA and to a cited publication by Dr. De

   Flora, which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize that statement and publication by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   134.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a cited statement by

   FDA, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that statement by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   135.   This paragraph refers to a publication by Emery Pharma, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   136.   This paragraph refers to a cited publication by Emery Pharma, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that publication by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related




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   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   137.   This paragraph refers to the cited FDA correspondence, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that correspondence by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   138.   This paragraph refers to cited publications, statements, and testing by FDA, which speak

   for themselves. To the extent the allegations contained in this paragraph mischaracterize those

   publications, statements, or testing by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   139.   This paragraph refers to a publication by Newkirk and Berfield, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that publication by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   140.   This paragraph refers to a publication by the EMA, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   141.   This paragraph refers to a publication by the EMA, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively



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   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

                      IV. HOW RANITIDINE TRANSFORMS INTO NDMA

   142.   Pfizer denies Plaintiffs’ characterization and depiction of the ranitidine molecule. The

   allegations in this paragraph are otherwise denied.

   143.   Pfizer denies each and every allegation in this paragraph.

   144.   This paragraph refers to the cited publications by Ogawa and Mitch, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   publications by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   145.   Pfizer denies each and every allegation in this paragraph.

   146.   Pfizer denies each and every allegation in this paragraph.

   147.   This paragraph refers to the cited publication by Dr. de Flora and to the FDA approval of

   Zantac and the Zantac NDA, which speak for themselves. To the extent the allegations

   contained in this paragraph mischaracterize those documents by selectively quoting, omitting,

   and/or emphasizing certain language or by drawing related inferences or stating related opinions,

   they are denied. The allegations in this paragraph are otherwise denied.

   148.   This paragraph refers to the publications by Dr. De Flora and Brittain, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   publications by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.



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   149.   This paragraph refers to the cited publication by Edwards, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   150.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a cited publication by the

   Senate Committee on Finance, a publication by the U.S. Department of Justice, and a Sanofi

   webpage, which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those publications or that webpage by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   151.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   152.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or



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   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   153.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a Summary Basis of

   Approval, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that document by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   154.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a Summary Basis of

   Approval, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that document by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.




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   155.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to a Summary Basis of

   Approval, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that document by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   156.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited Thomas study,

   which speaks for itself. To the extent the allegations contained in this paragraph mischaracterize

   that document by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   157.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. The allegations in this paragraph are otherwise denied.

   158.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,



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   therefore, denies the same. Responding further, this paragraph refers to a Maura study, which

   speaks for itself. To the extent the allegations contained in this paragraph mischaracterize that

   document by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   159.   This paragraph refers to cited studies by Dr. de Flora and studies by GSK, which speak

   for themselves. To the extent the allegations contained in this paragraph mischaracterize those

   studies by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   160.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to the cited documents, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those documents by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   161.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph



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   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   162.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to the cited documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   163.   This paragraph refers to a cited study by LeRoux, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   164.   This paragraph refers to a cited study by Krawczynski, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   165.   Pfizer denies each and every allegation in this paragraph as to itself. To the extent the

   allegations in this paragraph are not directed at Pfizer, no response from Pfizer is required. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   166.   This paragraph refers to a cited study by Zeng, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   167.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   168.   This paragraph refers to the cited studies by Valisure and FDA, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   studies by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied. The allegations in this paragraph

   are otherwise denied.

   169.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   170.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   171.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively



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   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   172.   This paragraph refers to the cited marketing materials, which speak for themselves. To

   the extent the allegations contained in this paragraph mischaracterize those materials by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   173.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   174.   Pfizer denies each and every allegation in this paragraph.

   175.   This paragraph refers to the cited study by FDA, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   176.   This paragraph refers generally to uncited literature and data, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize that

   literature and data by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   177.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively



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   quoting, omitting, and/or emphasizing certain language, they are denied. The allegations in this

   paragraph are otherwise denied.

   178.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language, they are denied. The allegations in this

   paragraph are otherwise denied.

   179.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   180.   This paragraph refers to the cited study by Valisure, which speaks for itself. To the

   extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   181.   This paragraph refers to the cited information published by the National Center for

   Biotechnology Information, including Figure 3, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that information by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   182.   This paragraph refers to the cited information published by Valisure, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that information

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related




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   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   183.   This paragraph refers to the cited study published by Stanford, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that study by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   184.   This paragraph refers to uncited early studies, a study by GSK, and a study by Valisure,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those studies by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   185.   This paragraph refers to a statement made by FDA, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that statement by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   186.   This paragraph refers to the cited study published by Emery Pharma, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   187.   This paragraph refers to the cited study published by Emery Pharma, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related



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   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   188.   This paragraph refers to statements by the FDA, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those statements by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   189.   This paragraph refers to statements by the FDA and to the cited study by Woodcock,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those statements or that study by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   190.   This paragraph refers to statements by the FDA and other regulatory authorities, which

   speak for themselves. To the extent the allegations contained in this paragraph mischaracterize

   those statement by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied. Responding further, the

   allegations in this paragraph are not directed at Pfizer and therefore require no response from

   Pfizer. To the extent a response is required, Pfizer lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   The allegations in this paragraph are otherwise denied.

   191.   This paragraph refers to statements by the FDA and a study by Valisure, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   statements or that study by selectively quoting, omitting, and/or emphasizing certain language or

   by drawing related inferences or stating related opinions, they are denied. Responding further,



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   the allegations in this paragraph are not directed at Pfizer and therefore require no response from

   Pfizer. To the extent a response is required, Pfizer lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   The allegations in this paragraph are otherwise denied.

   192.   This paragraph refers to the cited GSK documents, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those documents by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. Responding further, the allegations in this paragraph are

   not directed at Pfizer and therefore require no response from Pfizer. To the extent a response is

   required, Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   193.   This paragraph refers to the cited Sanofi documents, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those documents by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. Responding further, the allegations in this paragraph are

   not directed at Pfizer and therefore require no response from Pfizer. To the extent a response is

   required, Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   194.   This paragraph refers to the cited Sanofi documents, which speak for themselves. To the

   extent the allegations contained in this paragraph mischaracterize those documents by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or



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   stating related opinions, they are denied. Responding further, the allegations in this paragraph are

   not directed at Pfizer and therefore require no response from Pfizer. To the extent a response is

   required, Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   195.   The allegations in this paragraph are denied as to Pfizer. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   196.   The allegations in this paragraph are denied as to Pfizer. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   Responding further, this paragraph refers to the cited Sanofi, GSK, and Dr. Reddy's documents,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those documents by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

          V. EVIDENCE DIRECTLY LINKS RANITIDINE EXPOSURE TO CANCER

   197.   This paragraph refers to uncited studies, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those studies by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.




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   198.   This paragraph refers to the cited Michaud study, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   199.   This paragraph refers to the cited Mathes study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   200.   This paragraph refers to the cited Habel study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   201.   This paragraph refers to the cited Tran study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   202.   This paragraph refers to the cited Shao study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   203.   This paragraph refers to the cited studies by Mathes, Ahn, Lai, Poulsen, Wennerstrom,

   and Adamson, which speak for themselves. To the extent the allegations contained in this

   paragraph mischaracterize those studies by selectively quoting, omitting, and/or emphasizing



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   certain language or by drawing related inferences or stating related opinions, they are denied.

   The allegations in this paragraph are otherwise denied.

          VI. DEFENDANTS KNEW OR SHOULD HAVE KNOWN OF THE NDMA RISK

   204.      This paragraph refers to the cited de Flora study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   205.      This paragraph refers to the cited GSK study, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that study by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. Responding further, the allegations in this paragraph are not directed

   at Pfizer and therefore require no response from Pfizer. To the extent a response is required,

   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the allegations

   of this paragraph and, therefore, denies the same. The allegations in this paragraph are otherwise

   denied.

   206.      The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to the cited de Flora study, which speaks for itself. To the extent the allegations

   contained in this paragraph mischaracterize that study by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.



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   207.      The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to the cited Thomas study, which speaks for itself. To the extent the allegations

   contained in this paragraph mischaracterize that study by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

                            THE FEDERAL REGULATORY LANDSCAPE

   208.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             I. DEFENDANTS MADE FALSE STATEMENTS IN THE LABELING OF
                               RANITIDINE-CONTAINING PRODUCTS
   209.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 201.5 and 201.15, which speak for

   themselves. To the extent the allegations contained in this paragraph mischaracterize those

   provisions by selectively quoting, omitting, and/or emphasizing certain language or by drawing

   related inferences or stating related opinions, they are denied.

   210.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 65 Fed. Reg. 14286, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by



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   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   211.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to United States v. Research Labs., 126 F.2d

   42, 45 (9th Cir. 1942), which speaks for itself. To the extent the allegations contained in this

   paragraph mischaracterize that case by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   212.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166(a), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   213.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166(a), 211.137(a) and

   211.137(b) which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those provisions by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   214.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   215.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 43 Fed. Reg. 45059, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   216.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166(b), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   217.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166(b), 314.70, and 314.71

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those provisions by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   218.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.70(b), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by




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   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   219.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.70(c)(3) and (c)(6) which

   speak for themselves. To the extent the allegations contained in this paragraph mischaracterize

   those provisions by selectively quoting, omitting, and/or emphasizing certain language or by

   drawing related inferences or stating related opinions, they are denied.

   220.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.70(c)(6)(I) and 65 Fed. Reg.

   83042 (Dec. 29, 2000) which speak for themselves. To the extent the allegations contained in

   this paragraph mischaracterize those provisions by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied.

   221.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.137(a), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   222.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are



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   denied. Responding further, this paragraph refers to 21 CFR 314.70(c)(6)(ii)(A), (C), and (D)

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those provisions by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   223.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.70(d)(2)(ix) which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied.

   224.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.70(d)(2)(vi), (vii), and (x)

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those provisions by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied.

   225.   This paragraph refers to the FDA-approved labeling for Zantac, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that labeling by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. Responding further, to the extent the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   226.   This paragraph refers to the FDA-approved labeling for Zantac, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that labeling by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. Responding further, to the extent the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   227.   The allegations in this paragraph are denied as to Pfizer. Responding further, to the extent

   the allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer.

   To the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   228.   This paragraph refers to the FDA-approved labeling for Zantac, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that labeling by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. Responding further, to the extent the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   229.      The allegations in this paragraph are denied as to Pfizer. This paragraph refers to the

   FDA-approved labeling for Zantac, which speaks for itself. To the extent the allegations

   contained in this paragraph mischaracterize that labeling by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. Responding further, to the extent the allegations in this paragraph are not directed at

   Pfizer, they require no response from Pfizer. To the extent a response is required, Pfizer lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations of this

   paragraph and, therefore, denies the same. The allegations in this paragraph are otherwise

   denied.

    II. FEDERAL LAW REQUIRED THE DEFENDANTS TO NOTIFY THE FDA ABOUT
          THE PRESENCE OF NDMA IN RANITIDINE-CONTAINING PRODUCTS
   230. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited scientific evidence, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that scientific evidence by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   231.      The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.



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   232.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.81(b)(2), which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   233.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 314.81(b)(2)(v), which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   234.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   235.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited publicly available scientific literature, which speaks for itself. To the



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   extent the allegations contained in this paragraph mischaracterize those studies by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   236.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited studies, which speak for themselves. To the extent the allegations

   contained in this paragraph mischaracterize those studies by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   237.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited FDA statements, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those statements by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

                           III. GOOD MANUFACTURING PRACTICES

   238.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 U.S.C. § 351(a)(2)(B), which speaks for



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   itself. To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   239.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 210.1(a), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   240.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.142(b), which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   241.   This paragraph refers to the cited information published by FDA and Woodcock, as well

   as a citizen petition from Emery Pharma, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those documents by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.



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   242.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

               PLAINTIFFS’ USE OF RANITIDINE-CONTAINING PRODUCTS

   243.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   244.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   245.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   246.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   247.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   248.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   249.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a



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   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   250.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   251.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   252.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   253.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   254.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.




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                            TOLLING / FRAUDULENT CONCEALMENT

   255.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   256.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   257.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   258.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   259.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. Responding further, Pfizer specifically denies that it affirmatively withheld

   and/or misrepresented any facts regarding the safety of OTC Zantac. To the extent the remaining

   allegations in this paragraph require a response, they are denied.

   260.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.




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                     EXEMPLARY / PUNITIVE DAMAGES ALLEGATIONS

   261.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   262.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   263.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

                                         CAUSES OF ACTION

      COUNT I: STRICT PRODUCTS LIABILITY—FAILURE TO WARN THROUGH
                              WARNINGS AND PRECAUTIONS
   264. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   265.   Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   266.   Pfizer denies each and every allegation in this paragraph.

   267.   Pfizer denies each and every allegation in this paragraph.

   268.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To



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   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   269.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   270.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   271.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   272.   This paragraph purports to refer to a publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   273.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a publication, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that publication



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   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   274.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK statement, which speaks

   for itself. To the extent the allegations contained in this paragraph mischaracterize that statement

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   275.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   276.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for



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   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   277.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   278.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   279.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,



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   therefore, denies the same. This paragraph purports to refer to a de Flora study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   280.   This paragraph purports to refer to a publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   281.   This paragraph purports to refer to a publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   282.   This paragraph purports to refer to a publication, which speaks for itself. To the extent

   the allegations contained in this paragraph mischaracterize that publication by selectively

   quoting, omitting, and/or emphasizing certain language or by drawing related inferences or

   stating related opinions, they are denied. The allegations in this paragraph are otherwise denied.

   283.   This paragraph purports to refer to a publication by Valisure and a statement by FDA,

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize that publication and statement by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.




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   284.   This paragraph purports to refer to a publication by Valisure, which speaks for itself. To

   the extent the allegations contained in this paragraph mischaracterize that publication by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   285.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. This

   paragraph purports to refer to a publication by Valisure, which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   286.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   287.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.



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   288.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   289.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   290.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   291.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   292.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.



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   293.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   294.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   295.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   296.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   297.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   298.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   299.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   300.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   301.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   302.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   303.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   304.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   305.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

       SUB-COUNT I-1 ALABAMA: STRICT PRODUCTS LIABILITY—FAILURE TO
           WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   306. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   307.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   308.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   309.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-2 ALASKA: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   310. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   311.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   312.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   313.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-3 ARIZONA: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   314. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   315.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   316.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   317.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-4 ARKANSAS: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   318. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   319.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   320.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   321.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-5 CALIFORNIA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   322. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   323.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   324.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   325.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-6 COLORADO: STRICT PRODUCTS LIABILITY—FAILURE
        TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   326. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   327.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   328.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   329.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT I-7 CONNECTICUT: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   330. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   331.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   332.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   333.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT I-8 DISTRICT OF COLUMBIA: STRICT PRODUCTS
      LIABILITY—FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND
                                         PRECAUTIONS
   334. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   335.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   336.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   337.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-9 FLORIDA: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   338. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   339.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   340.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   341.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-10 GEORGIA: STRICT PRODUCTS LIABILITY—FAILURE TO
           WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   342. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   343.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   344.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   345.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-11 HAWAII: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   346. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   347.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   348.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   349.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-12 IDAHO: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   350. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   351.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   352.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   353.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-13 ILLINOIS: STRICT PRODUCTS LIABILITY—FAILURE TO
           WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   354. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   355.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   356.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   357.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-14 INDIANA: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   358. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   359.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   360.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   361.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-15 KANSAS: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   362. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   363.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   364.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   365.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-16 KENTUCKY: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   366. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   367.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   368.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   369.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-17 LOUISIANA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   370. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   371.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   372.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   373.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-18 MAINE: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   374. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   375.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   376.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   377.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-19 MARYLAND: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   378. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   379.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   380.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   381.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-20 MICHIGAN: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   382. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   383.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   384.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   385.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-21 MINNESOTA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   386. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   387.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   388.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   389.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-22 MISSISSIPPI: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   390. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   391.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   392.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   393.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-23 MISSOURI: STRICT PRODUCTS LIABILITY—FAILURE
        TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   394. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   395.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   396.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   397.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-24 MONTANA: STRICT PRODUCTS LIABILITY—FAILURE
        TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   398. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   399.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   400.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   401.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-25 NEBRASKA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   402. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   403.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   404.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   405.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-26 NEVADA: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   406. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   407.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   408.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   409.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-27 NEW HAMPSHIRE: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   410. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   411.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   412.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   413.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-28 NEW JERSEY: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   414. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   415.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   416.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   417.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT I-29 NEW MEXICO: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   418. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   419.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   420.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   421.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-30 NEW YORK: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   422. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   423.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   424.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   425.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-31 NORTH DAKOTA: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   426. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   427.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   428.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   429.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-32 OHIO: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   430. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   431.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   432.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   433.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-33 OKLAHOMA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   434. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   435.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   436.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   437.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-34 OREGON: STRICT PRODUCTS LIABILITY—FAILURE TO
           WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   438. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   439.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   440.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   441.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT I-35 PUERTO RICO: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   442. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   443.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   444.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   445.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT I-36 RHODE ISLAND: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   446. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   447.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   448.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   449.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-37 SOUTH CAROLINA: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   450. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   451.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   452.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   453.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-38 SOUTH DAKOTA: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   454. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   455.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   456.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   457.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-39 TENNESSEE: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   458. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   459.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   460.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   461.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-40 TEXAS: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   462. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   463.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   464.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   465.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-41 UTAH: STRICT PRODUCTS LIABILITY—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   466. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   467.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   468.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   469.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-42 VERMONT: STRICT PRODUCTS LIABILITY—FAILURE
        TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   470. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   471.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   472.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   473.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT I-43 WASHINGTON: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   474. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   475.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   476.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   477.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT I-44 WEST VIRGINIA: STRICT PRODUCTS LIABILITY—
    FAILURE TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   478. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   479.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   480.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   481.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-45 WISCONSIN: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   482. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   483.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   484.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   485.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT I-46 WYOMING: STRICT PRODUCTS LIABILITY—FAILURE
        TO WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   486. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   487.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   488.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   489.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

      COUNT II: NEGLIGENCE—FAILURE TO WARN THROUGH WARNINGS AND
                                         PRECAUTIONS
   490. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   491.      Pfizer denies each and every allegation in this paragraph.



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   492.   Pfizer denies each and every allegation in this paragraph.

   493.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   494.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   495.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   496.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   497.   The allegations in this paragraph as to Pfizer are denied. This paragraph purports to refer

   to a publication which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize that publication by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.




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   498.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a publication which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that publication

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   499.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK statement, which speaks

   for itself. To the extent the allegations contained in this paragraph mischaracterize that statement

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   500.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related




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   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   501.   The allegations in this paragraph as to Pfizer are denied. The remaining allegations in this

   paragraph are not directed at Pfizer and therefore require no response from Pfizer. To the extent

   a response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. This paragraph purports

   to refer to a GSK study, which speaks for itself. To the extent the allegations contained in this

   paragraph mischaracterize that study by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   502.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   503.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by



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   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   504.   The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a de Flora study, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   505.   This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   506.   This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   507.   This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.



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   508.      This paragraph purports to refer to a publication by Valisure, which speaks for itself. To

   the extent the allegations contained in this paragraph mischaracterize that publication by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   509.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   510.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   511.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   512.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.



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   513.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   514.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   515.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   516.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   517.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   518.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   519.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   520.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   521.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   522.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   523.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   524.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   525.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   526.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   527.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

               SUB-COUNT II-1 ALABAMA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   528.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   529.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   530.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   531.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-2 ALASKA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   532.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   533.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   534.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   535.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-3 ARIZONA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   536.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   537.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   538.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   539.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-4 ARKANSAS: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   540.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   541.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   542.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   543.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-5 CALIFORNIA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   544.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   545.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   546.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   547.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-6 COLORADO: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   548.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   549.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   550.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   551.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT II-7 CONNECTICUT: NEGLIGENCE—FAILURE TO WARN
                 CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   552.   Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   553.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   554.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   555.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-8 DELAWARE: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   556.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   557.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   558.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   559.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-9 DISTRICT OF COLUMBIA: NEGLIGENCE—FAILURE TO
          WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   560. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   561.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   562.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   563.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-10 FLORIDA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   564.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   565.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   566.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   567.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-11 GEORGIA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   568.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   569.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   570.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   571.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-12 HAWAII: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   572.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   573.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   574.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   575.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-13 IDAHO: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   576.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   577.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   578.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   579.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-14 ILLINOIS: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   580.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   581.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   582.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   583.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-15 INDIANA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   584.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   585.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   586.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   587.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-16 IOWA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   588.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   589.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   590.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   591.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-17 KANSAS: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   592.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   593.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   594.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   595.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-18 KENTUCKY: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   596.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   597.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   598.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   599.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-19 MAINE: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   600.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   601.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   602.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   603.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-20 MARYLAND: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   604.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   605.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   606.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   607.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-21 MASSACHUSETTS: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   608. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   609.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   610.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   611.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-22 MICHIGAN: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   612.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   613.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   614.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   615.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT II-23 MINNESOTA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   616.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   617.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   618.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   619.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-24 MISSISSIPPI: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   620.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   621.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   622.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   623.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-25 MISSOURI: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   624.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   625.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   626.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   627.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-26 MONTANA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   628.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   629.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   630.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   631.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-27 NEBRASKA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   632.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   633.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   634.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   635.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-28 NEVADA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   636.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   637.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   638.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   639.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-29 NEW HAMPSHIRE: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   640. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   641.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   642.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   643.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT II-30 NEW MEXICO: NEGLIGENCE—FAILURE TO WARN
                 CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   644.   Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   645.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   646.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   647.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-31 NEW YORK: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   648.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   649.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   650.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   651.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-32 NORTH CAROLINA: NEGLIGENCE—FAILURE TO
               WARN CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   652.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   653.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   654.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   655.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-33 NORTH DAKOTA: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   656. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   657.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   658.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   659.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT II-34 OKLAHOMA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   660.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   661.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   662.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   663.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT II-35 OREGON: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   664.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   665.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   666.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   667.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-36 PENNSYLVANIA: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   668. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   669.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   670.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   671.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT II-37 PUERTO RICO: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   672. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   673.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   674.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   675.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT II-38 RHODE ISLAND: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   676. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   677.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   678.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   679.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-39 SOUTH CAROLINA: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   680. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   681.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   682.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   683.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-40 SOUTH DAKOTA: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   684. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   685.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   686.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   687.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-41 TENNESSEE: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   688.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   689.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   690.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   691.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-42 TEXAS: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   692.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   693.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   694.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   695.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                 SUB-COUNT II-43 UTAH: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   696.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   697.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   698.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   699.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-44 VERMONT: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   700.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   701.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   702.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   703.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT II-45 VIRGINIA: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   704.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   705.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   706.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   707.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT II-46 WEST VIRGINIA: NEGLIGENCE—FAILURE TO WARN
               CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   708. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   709.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   710.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   711.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-47 WISCONSIN: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   712.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   713.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   714.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   715.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT II-48 WYOMING: NEGLIGENCE—FAILURE TO WARN
                    CONSUMERS THROUGH WARNINGS AND PRECAUTIONS
   716.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   717.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   718.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   719.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

     COUNT III: STRICT PRODUCTS LIABILITY—FAILURE TO WARN THROUGH
                                PROPER EXPIRATION DATES
   720. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   721.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   722.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   723.      Pfizer denies each and every allegation in this paragraph.

   724.      Pfizer denies each and every allegation in this paragraph.

   725.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.




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   726.      Pfizer admits only that during the time when Pfizer held the marketing rights to OTC

   Zantac, the medication had expiration periods ranging from 24 to 36 months. The allegations in

   this paragraph are otherwise denied.

   727.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   728.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.137, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   729.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   730.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   731.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   732.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   733.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   734.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   735.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.



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   736.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   737.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   738.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   739.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   740.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   741.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   742.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent the

   allegations in this paragraph state a legal conclusion, no response is required. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   743.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   744.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   745.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   746.      The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-1 ALABAMA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   747. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   748.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   749.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   750.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-2 ALASKA: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   751. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   752.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   753.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   754.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT III-3 ARIZONA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   755. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   756.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   757.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   758.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-4 ARKANSAS: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   759. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   760.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   761.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   762.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-5 CALIFORNIA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   763. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   764.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   765.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   766.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-6 COLORADO: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   767. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   768.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   769.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   770.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT III-7 CONNECTICUT: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   771. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   772.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   773.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   774.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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                SUB-COUNT III-8 DISTRICT OF COLUMBIA: STRICT PRODUCTS
              LIABILITY—FAILURE TO WARN CONSUMERS THROUGH PROPER
                                          EXPIRATION DATES
   775.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   776.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   777.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   778.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT III-9 FLORIDA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   779. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   780.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   781.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   782.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-10 GEORGIA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   783. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   784.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   785.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   786.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-11 HAWAII: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   787. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   788.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   789.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   790.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-12 IDAHO: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   791. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   792.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   793.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   794.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-13 ILLINOIS: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   795. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   796.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   797.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   798.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-14 INDIANA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   799. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   800.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   801.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   802.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-15 KANSAS: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   803. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   804.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   805.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   806.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.



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          SUB-COUNT III-16 KENTUCKY: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   807. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   808.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   809.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   810.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-17 LOUISIANA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   811. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   812.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   813.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   814.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-18 MAINE: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   815. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   816.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   817.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   818.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-19 MARYLAND: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   819. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   820.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   821.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   822.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-20 MICHIGAN: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   823. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   824.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   825.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   826.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-21 MINNESOTA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   827. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   828.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   829.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   830.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT III-22 MISSISSIPPI: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   831. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   832.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   833.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   834.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-23 MISSOURI: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   835. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   836.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   837.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   838.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-24 MONTANA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   839. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   840.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   841.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   842.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-25 NEBRASKA: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   843. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   844.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   845.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   846.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-26 NEVADA: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   847. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   848.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   849.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   850.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT III-27 NEW HAMPSHIRE: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   851. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   852.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   853.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   854.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT III-28 NEW JERSEY: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   855. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   856.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   857.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   858.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT III-29 NEW MEXICO: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   859. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   860.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   861.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   862.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-30 NEW YORK: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   863. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   864.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   865.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   866.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT III-31 NORTH DAKOTA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   867. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   868.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   869.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   870.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-32 OHIO: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   871. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   872.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   873.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   874.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-33 OKLAHOMA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   875. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   876.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   877.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   878.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-34 OREGON: STRICT PRODUCTS LIABILITY—FAILURE
         TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   879. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   880.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   881.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   882.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT III-35 PUERTO RICO: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   883. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   884.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   885.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   886.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT III-36 RHODE ISLAND: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   887. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   888.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   889.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   890.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-37 SOUTH CAROLINA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   891. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   892.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   893.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   894.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT III-38 SOUTH DAKOTA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   895. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   896.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   897.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   898.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-39 TENNESSEE: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   899. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   900.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   901.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   902.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-40 TEXAS: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   903. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   904.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   905.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   906.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT III-41 UTAH: STRICT PRODUCTS LIABILITY—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   907. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   908.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   909.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   910.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-42 VERMONT: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   911. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   912.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   913.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   914.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT III-43 WASHINGTON: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   915. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   916.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   917.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   918.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT III-44 WEST VIRGINIA: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   919. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   920.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   921.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   922.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT III-45 WISCONSIN: STRICT PRODUCTS LIABILITY—
      FAILURE TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   923. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   924.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   925.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   926.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT III-46 WYOMING: STRICT PRODUCTS LIABILITY—FAILURE
          TO WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   927. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   928.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   929.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   930.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             COUNT IV: NEGLIGENCE—FAILURE TO WARN THROUGH PROPER
                                          EXPIRATION DATES
   931.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   932.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   933.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   934.      Pfizer denies each and every allegation in this paragraph.

   935.      Pfizer denies each and every allegation in this paragraph.

   936.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To




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   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   937.   Pfizer admits only that during the time when Pfizer held the marketing rights to OTC

   Zantac, the medication had expiration periods ranging from 24 to 36 months. The allegations in

   this paragraph are otherwise denied.

   938.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   939.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.137, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   940.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.




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   941.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   942.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   943.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   944.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   945.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   946.      The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To



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   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   947.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   948.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   949.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   950.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.



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   951.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   952.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   953.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   954.   The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent the

   allegations in this paragraph state a legal conclusion, no response is required. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.




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   955.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   956.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   957.   The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   958.   The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT IV-1 ALABAMA: NEGLIGENCE—FAILURE TO WARN
                   CONSUMERS THROUGH PROPER EXPIRATION DATES
   959.   Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   960.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   961.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   962.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                SUB-COUNT IV-2 ALASKA: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   963.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   964.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   965.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   966.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT IV-3 ARIZONA: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   967.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   968.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   969.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   970.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT IV-4 ARKANSAS: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   971.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   972.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   973.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   974.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT IV-5 CALIFORNIA: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   975.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   976.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   977.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   978.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT IV-6 COLORADO: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   979.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   980.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   981.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   982.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT IV-7 CONNECTICUT: NEGLIGENCE—FAILURE TO WARN
                 CONSUMERS THROUGH PROPER EXPIRATION DATES
   983. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   984.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   985.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   986.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT IV-8 DELAWARE: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   987.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   988.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   989.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   990.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT IV-9 DISTRICT OF COLUMBIA: NEGLIGENCE—FAILURE TO
            WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   991. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   992.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   993.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   994.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

               SUB-COUNT IV-10 FLORIDA: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   995.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   996.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   997.      The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   998.      Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

              SUB-COUNT IV-11 GEORGIA: NEGLIGENCE—FAILURE TO WARN
                      CONSUMERS THROUGH PROPER EXPIRATION DATES
   999.      Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1000. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1001. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1002. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT IV-12 HAWAII: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1003. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1004. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1005. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1006. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT IV-13 IDAHO: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1007. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1008. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1009. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1010. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

           SUB-COUNT IV-14 ILLINOIS: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1011. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1012. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1013. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1014. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

           SUB-COUNT IV-15 INDIANA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1015. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1016. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1017. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1018. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT IV-16 IOWA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1019. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1020. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1021. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1022. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT IV-17 KANSAS: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1023. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1024. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1025. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1026. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-18 KENTUCKY: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1027. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1028. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1029. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1030. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT IV-19 MAINE: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1031. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1032. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1033. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1034. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-20 MARYLAND: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1035. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1036. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1037. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1038. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

      SUB-COUNT IV-21 MASSACHUSETTS: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1039. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1040. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1041. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1042. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-22 MICHIGAN: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1043. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1044. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1045. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1046. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-23 MINNESOTA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1047. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1048. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1049. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1050. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-24 MISSISSIPPI: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1051. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1052. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1053. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1054. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-25 MISSOURI: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1055. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1056. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1057. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1058. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-26 MONTANA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1059. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1060. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1061. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1062. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-27 NEBRASKA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1063. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1064. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1065. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1066. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

           SUB-COUNT IV-28 NEVADA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1067. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1068. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1069. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1070. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

      SUB-COUNT IV-29 NEW HAMPSHIRE: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1071. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1072. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1073. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1074. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-30 NEW MEXICO: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1075. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1076. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1077. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1078. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-31 NEW YORK: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1079. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1080. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1081. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1082. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-32 NORTH CAROLINA: NEGLIGENCE—FAILURE TO
             WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   1083. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1084. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1085. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1086. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT IV-33 NORTH DAKOTA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1087. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1088. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1089. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1090. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-34 OKLAHOMA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1091. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1092. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1093. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1094. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

           SUB-COUNT IV-35 OREGON: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1095. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1096. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1097. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1098. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT IV-36 PENNSYLVANIA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1099. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1100. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1101. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1102. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT IV-37 PUERTO RICO: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1103. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1104. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1105. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1106. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT IV-38 RHODE ISLAND: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1107. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1108. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1109. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1110. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-39 SOUTH CAROLINA: NEGLIGENCE—FAILURE TO
             WARN CONSUMERS THROUGH PROPER EXPIRATION DATES
   1111. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1112. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1113. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1114. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT IV-40 SOUTH DAKOTA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1115. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1116. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1117. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1118. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-41 TENNESSEE: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1119. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1120. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1121. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1122. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT IV-42 TEXAS: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1123. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1124. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1125. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1126. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

             SUB-COUNT IV-43 UTAH: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1127. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1128. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1129. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1130. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-44 VERMONT: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1131. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1132. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1133. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1134. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-45 VIRGINIA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1135. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1136. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1137. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1138. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT IV-46 WEST VIRGINIA: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1139. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1140. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1141. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1142. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT IV-47 WISCONSIN: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1143. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1144. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1145. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1146. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT IV-48 WYOMING: NEGLIGENCE—FAILURE TO WARN
                  CONSUMERS THROUGH PROPER EXPIRATION DATES
   1147. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1148. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1149. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1150. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         COUNT V: STRICT PRODUCTS LIABILITY—DESIGN DEFECT DUE TO
                               WARNINGS AND PRECAUTIONS
   1151. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1152. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1153. Pfizer denies each and every allegation in this paragraph.

   1154. Pfizer denies each and every allegation in this paragraph.

   1155. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1156. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1157. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1158. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1159. This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,




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   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   1160. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a publication which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that publication

   by selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1161. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK statement which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that statement by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1162. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by



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   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1163. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1164. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1165. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a GSK study which speaks for



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   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1166. The allegations in this paragraph are not directed at Pfizer and therefore require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. This paragraph purports to refer to a de Flora study which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that study by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1167. This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   1168. This paragraph purports to refer to a publication which speaks for itself. To the extent the

   allegations contained in this paragraph mischaracterize that publication by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   1169. This paragraph purports to refer to a publication by Valisure, which speaks for itself. To

   the extent the allegations contained in this paragraph mischaracterize that publication by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related



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   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1170. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1171. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1172. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1173. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1174. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1175. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1176. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1177. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1178. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   1179. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1180. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1181. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1182. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1183. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1184. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1185. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1186. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1187. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   1188. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1189. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied. Responding further, the allegations in this

   paragraph as to proximate cause state a legal conclusion as to which no response is required.

         SUB-COUNT V-1 ALABAMA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1190. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1191. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1192. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1193. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-2 ALASKA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1194. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1195. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1196. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1197. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-3 ARIZONA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1198. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1199. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1200. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1201. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-4 ARKANSAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1202. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1203. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1204. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1205. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT V-5 CALIFORNIA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1206. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1207. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1208. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1209. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-6 COLORADO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1210. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1211. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1212. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1213. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT V-7 CONNECTICUT: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1214. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1215. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1216. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1217. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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            SUB-COUNT V-8 DISTRICT OF COLUMBIA: STRICT PRODUCTS
        LIABILITY—DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1218. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1219. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1220. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1221. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-9 FLORIDA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1222. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1223. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1224. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1225. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-10 GEORGIA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1226. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1227. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1228. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1229. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-11 HAWAII: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1230. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1231. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1232. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1233. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT V-12 IDAHO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1234. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1235. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1236. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1237. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-13 ILLINOIS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1238. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1239. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1240. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1241. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-14 INDIANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1242. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1243. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1244. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1245. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-15 KANSAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1246. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1247. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1248. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1249. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-16 KENTUCKY: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1250. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1251. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1252. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1253. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT V-17 LOUISIANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1254. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1255. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1256. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1257. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT V-18 MAINE: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1258. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1259. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1260. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1261. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT V-19 MARYLAND: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1262. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1263. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1264. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1265. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-20 MICHIGAN: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1266. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1267. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1268. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1269. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT V-21 MINNESOTA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1270. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1271. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1272. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1273. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT V-22 MISSISSIPPI: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1274. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1275. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1276. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1277. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-23 MISSOURI: STRICT PRODUCTS LIABILITY—DESIGN
                 DEFECT DUE TO WARNINGS AND PRECAUTIONS


   1278. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1279. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1280. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1281. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.



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        SUB-COUNT V-24 MONTANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1282. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1283. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1284. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1285. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT V-25 NEBRASKA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1286. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1287. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1288. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1289. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-26 NEVADA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1290. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1291. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1292. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1293. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT V-27 NEW HAMPSHIRE: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1294. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1295. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1296. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1297. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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       SUB-COUNT V-28 NEW JERSEY: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1298. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1299. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1300. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1301. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

      SUB-COUNT V-29 NEW MEXICO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1302. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1303. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1304. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1305. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-30 NEW YORK: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1306. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1307. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1308. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1309. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT V-31 NORTH DAKOTA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1310. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1311. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1312. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1313. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT V-32 OHIO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1314. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1315. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1316. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1317. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT V-33 OKLAHOMA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1318. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1319. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1320. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1321. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-34 OREGON: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1322. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1323. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1324. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1325. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT V-35 PUERTO RICO: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1326. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1327. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1328. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1329. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-36 RHODE ISLAND: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1330. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1331. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1332. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1333. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT V-37 SOUTH CAROLINA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1334. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1335. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1336. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1337. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-38 SOUTH DAKOTA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1338. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1339. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1340. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1341. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT V-39 TENNESSEE: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1342. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1343. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1344. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1345. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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          SUB-COUNT V-40 TEXAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1346. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1347. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1348. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1349. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT V-41 UTAH: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1350. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1351. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1352. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1353. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-42 VERMONT: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1354. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1355. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1356. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1357. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT V-43 WASHINGTON: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1358. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1359. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1360. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1361. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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         SUB-COUNT V-44 WEST VIRGINIA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1362. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1363. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1364. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1365. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT V-45 WISCONSIN: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1366. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1367. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1368. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1369. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.




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        SUB-COUNT V-46 WYOMING: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO WARNINGS AND PRECAUTIONS
   1370. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1371. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1372. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1373. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        COUNT VI: STRICT PRODUCTS LIABILITY – DESIGN DEFECT DUE TO
                               IMPROPER EXPIRATION DATES
   1374. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1375. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1376. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1377. Pfizer denies each and every allegation in this paragraph.

   1378. Pfizer denies each and every allegation in this paragraph.

   1379. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To




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   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1380. Pfizer admits only that during the time when Pfizer held the marketing rights to OTC

   Zantac, the medication had expiration periods ranging from 24 to 36 months. The allegations in

   this paragraph are otherwise denied.

   1381. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1382. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.137, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.

   1383. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied. Responding further, this paragraph refers to 21 CFR 211.166, which speaks for itself.

   To the extent the allegations contained in this paragraph mischaracterize that provision by

   drawing related inferences or stating related opinions, they are denied. The allegations in this

   paragraph are otherwise denied.




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   1384. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1385. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1386. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1387. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1388. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1389. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a




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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1390. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1391. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1392. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1393. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.




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   1394. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1395. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1396. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1397. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent the allegations in this paragraph state a legal conclusion, no response is required. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same.

   1398. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a



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   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1399. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1400. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   1401. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-1 ALABAMA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1402. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1403. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1404. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1405. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-2 ALASKA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1406. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1407. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1408. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1409. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-3 ARIZONA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1410. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1411. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1412. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1413. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-4 ARKANSAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1414. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1415. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1416. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1417. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-5 CALIFORNIA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1418. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1419. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1420. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1421. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-6 COLORADO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1422. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1423. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1424. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1425. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT VI-7 CONNECTICUT: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1426. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1427. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1428. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1429. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

            SUB-COUNT VI-8 DISTRICT OF COLUMBIA: STRICT PRODUCTS
        LIABILITY—DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1430. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1431. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1432. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1433. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-9 FLORIDA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1434. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1435. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1436. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1437. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-10 GEORGIA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1438. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1439. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1440. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1441. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-11 HAWAII: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1442. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1443. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1444. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1445. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-12 IDAHO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1446. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1447. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1448. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1449. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-13 ILLINOIS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1450. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1451. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1452. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1453. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-14 INDIANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1454. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1455. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1456. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1457. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-15 KANSAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1458. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1459. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1460. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1461. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-16 KENTUCKY: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1462. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1463. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1464. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1465. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-17 LOUISIANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1466. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1467. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1468. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1469. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-18 MAINE: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1470. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1471. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1472. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1473. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-19 MARYLAND: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1474. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1475. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1476. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1477. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-20 MICHIGAN: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1478. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1479. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1480. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1481. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-21 MINNESOTA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1482. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1483. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1484. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1485. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-22 MISSISSIPPI: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1486. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1487. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1488. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1489. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-23 MISSOURI: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1490. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1491. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1492. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1493. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-24 MONTANA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1494. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1495. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1496. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1497. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-25 NEBRASKA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1498. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1499. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1500. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1501. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-26 NEVADA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1502. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1503. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1504. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1505. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-27 NEW HAMPSHIRE: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1506. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1507. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1508. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1509. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

      SUB-COUNT VI-28 NEW JERSEY: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1510. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1511. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1512. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1513. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT VI-29 NEW MEXICO: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1514. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1515. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1516. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1517. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-30 NEW YORK: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1518. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1519. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1520. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1521. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-31 NORTH DAKOTA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1522. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1523. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1524. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1525. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT VI-32 OHIO: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1526. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1527. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1528. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1529. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-33 OKLAHOMA: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1530. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1531. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1532. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1533. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-34 OREGON: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1534. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1535. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1536. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1537. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-35 PUERTO RICO: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1538. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1539. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1540. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1541. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-36 RHODE ISLAND: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1542. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1543. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1544. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1545. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-37 SOUTH CAROLINA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1546. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1547. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1548. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1549. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-38 SOUTH DAKOTA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1550. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1551. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1552. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1553. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-39 TENNESSEE: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1554. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1555. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1556. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1557. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-40 TEXAS: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1558. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1559. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1560. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1561. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

          SUB-COUNT VI-41 UTAH: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1562. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1563. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1564. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1565. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-42 VERMONT: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1566. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1567. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1568. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1569. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-43 WASHINGTON: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1570. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1571. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1572. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1573. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

         SUB-COUNT VI-44 WEST VIRGINIA: STRICT PRODUCTS LIABILITY—
               DESIGN DEFECT DUE TO IMPROPER EXPIRATION DATES
   1574. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1575. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1576. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1577. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

       SUB-COUNT VI-45 WISCONSIN: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1578. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1579. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1580. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1581. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

        SUB-COUNT VI-46 WYOMING: STRICT PRODUCTS LIABILITY—DESIGN
                     DEFECT DUE TO IMPROPER EXPIRATION DATES
   1582. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1583. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1584. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1585. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

                         COUNT VII: NEGLIGENT FAILURE TO TEST

   1586. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1587. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1588. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   1589. This paragraph refers to uncited testing methods and a 2019 study by Valisure, which

   speaks for itself. To the extent the allegations contained in this paragraph mischaracterize the

   testing methods or Valisure study by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   1590. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1591. Pfizer denies each and every allegation in this paragraph.

   1592. Pfizer denies each and every allegation in this paragraph.

   1593. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1594. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1595. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this



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   paragraph refers to uncited research by Dr. de Flora and Dr. R.J.N. Tanner, which speaks for

   itself. To the extent the allegations contained in this paragraph mischaracterize that research by

   selectively quoting, omitting, and/or emphasizing certain language or by drawing related

   inferences or stating related opinions, they are denied. The allegations in this paragraph are

   otherwise denied.

   1596. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited FDA statements, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those statements by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   1597. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1598. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited studies, which speak for themselves. To the extent the allegations

   contained in this paragraph mischaracterize those studies by selectively quoting, omitting, and/or



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   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   1599. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited tests, which speak for themselves. To the extent the allegations

   contained in this paragraph mischaracterize those tests by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   1600. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1601. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1602. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1603. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a




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   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1604. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1605. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1606. Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same.

   1607. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1608. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT VII-1 KANSAS: NEGLIGENT FAILURE TO TEST
   1609. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1610. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1611. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1612. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1613. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited tests, which speak for themselves. To the extent the allegations

   contained in this paragraph mischaracterize those tests by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   1614. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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               SUB-COUNT VII-2 TEXAS: NEGLIGENT FAILURE TO TEST
   1615. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1616. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1617. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1618. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1619. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1620. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     COUNT VIII: NEGLIGENT PRODUCT CONTAINERS

   1621. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1622. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1623. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1624. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. To the extent that the

   allegations contained in this paragraph state a legal conclusion, no response is required.

   1625. Pfizer denies each and every allegation in this paragraph.

   1626. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same.

   1627. Pfizer denies each and every allegation in this paragraph.

   1628. Pfizer denies each and every allegation in this paragraph.

   1629. Pfizer denies each and every allegation in this paragraph.

   1630. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further,

   this paragraph refers to uncited FDA statements, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those statements by selectively quoting,



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   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

   1631. Each and every allegation in this paragraph is denied.

   1632. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1633. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1634. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-1 ALABAMA: NEGLIGENT PRODUCT CONTAINERS

   1635. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1636. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1637. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1638. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-2 ALASKA: NEGLIGENT PRODUCT CONTAINERS

   1639. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1640. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1641. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1642. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-3 ARIZONA: NEGLIGENT PRODUCT CONTAINERS

   1643. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1644. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1645. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1646. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT VIII-4 ARKANSAS: NEGLIGENT PRODUCT CONTAINERS

   1647. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1648. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1649. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1650. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

        SUB-COUNT VIII-5 CALIFORNIA: NEGLIGENT PRODUCT CONTAINERS

   1651. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1652. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1653. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1654. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-6 COLORADO: NEGLIGENT PRODUCT CONTAINERS

   1655. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1656. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1657. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1658. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

       SUB-COUNT VIII-7 CONNECTICUT: NEGLIGENT PRODUCT CONTAINERS




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   1659. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1660. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1661. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1662. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-8 DELAWARE: NEGLIGENT PRODUCT CONTAINERS

   1663. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1664. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1665. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1666. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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         SUB-COUNT VIII-9 DISTRICT OF COLUMBIA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1667. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1668. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1669. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1670. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-10 FLORIDA: NEGLIGENT PRODUCT CONTAINERS

   1671. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1672. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1673. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1674. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT VIII-11 GEORGIA: NEGLIGENT PRODUCT CONTAINERS

   1675. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1676. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1677. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1678. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-12 HAWAII: NEGLIGENT PRODUCT CONTAINERS

   1679. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1680. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1681. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1682. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-13 IDAHO: NEGLIGENT PRODUCT CONTAINERS

   1683. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1684. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1685. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1686. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-14 ILLINOIS: NEGLIGENT PRODUCT CONTAINERS

   1687. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1688. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1689. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1690. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-15 INDIANA: NEGLIGENT PRODUCT CONTAINERS

   1691. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1692. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1693. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1694. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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             SUB-COUNT VIII-16 IOWA: NEGLIGENT PRODUCT CONTAINERS

   1695. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1696. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1697. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1698. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-17 KANSAS: NEGLIGENT PRODUCT CONTAINERS

   1699. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1700. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1701. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1702. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-18 KENTUCKY: NEGLIGENT PRODUCT CONTAINERS

   1703. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1704. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1705. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1706. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-19 LOUISIANA: NEGLIGENT PRODUCT CONTAINERS

   1707. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1708. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1709. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1710. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-20 MAINE: NEGLIGENT PRODUCT CONTAINERS

   1711. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1712. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1713. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1714. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

        SUB-COUNT VIII-21 MARYLAND: NEGLIGENT PRODUCT CONTAINERS

   1715. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1716. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1717. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1718. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

            SUB-COUNT VIII-22 MASSACHUSETTS: NEGLIGENT PRODUCT
                                           CONTAINERS
   1719. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1720. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1721. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1722. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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         SUB-COUNT VIII-23 MICHIGAN: NEGLIGENT PRODUCT CONTAINERS

   1723. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1724. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1725. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1726. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

        SUB-COUNT VIII-24 MINNESOTA: NEGLIGENT PRODUCT CONTAINERS

   1727. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1728. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1729. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1730. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

        SUB-COUNT VIII-25 MISSISSIPPI: NEGLIGENT PRODUCT CONTAINERS

   1731. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1732. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1733. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1734. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT VIII-26 MISSOURI: NEGLIGENT PRODUCT CONTAINERS

   1735. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1736. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1737. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1738. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-27 MONTANA: NEGLIGENT PRODUCT CONTAINERS

   1739. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1740. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1741. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1742. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-28 NEBRASKA: NEGLIGENT PRODUCT CONTAINERS

   1743. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1744. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1745. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1746. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-29 NEVADA: NEGLIGENT PRODUCT CONTAINERS

   1747. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1748. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1749. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1750. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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            SUB-COUNT VIII-30 NEW HAMPSHIRE: NEGLIGENT PRODUCT
                                           CONTAINERS
   1751. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1752. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1753. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1754. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

        SUB-COUNT VIII-31 NEW JERSEY: NEGLIGENT PRODUCT CONTAINERS

   1755. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1756. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1757. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1758. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

       SUB-COUNT VIII-32 NEW MEXICO: NEGLIGENT PRODUCT CONTAINERS

   1759. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1760. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1761. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1762. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-33 NEW YORK: NEGLIGENT PRODUCT CONTAINERS

   1763. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1764. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1765. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1766. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

            SUB-COUNT VIII-34 NORTH CAROLINA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1767. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1768. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1769. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1770. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-35 NORTH DAKOTA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1771. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1772. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1773. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1774. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-36 OHIO: NEGLIGENT PRODUCT CONTAINERS

   1775. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1776. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1777. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1778. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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        SUB-COUNT VIII-37 OKLAHOMA: NEGLIGENT PRODUCT CONTAINERS

   1779. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1780. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1781. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1782. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-38 OREGON: NEGLIGENT PRODUCT CONTAINERS

   1783. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1784. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1785. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1786. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-39 PENNSYLVANIA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1787. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1788. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1789. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1790. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

       SUB-COUNT VIII-40 PUERTO RICO: NEGLIGENT PRODUCT CONTAINERS

   1791. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1792. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1793. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1794. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT VIII-41 RHODE ISLAND: NEGLIGENT PRODUCT
                                           CONTAINERS
   1795. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1796. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1797. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1798. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

            SUB-COUNT VIII-42 SOUTH CAROLINA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1799. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1800. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1801. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1802. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-43 SOUTH DAKOTA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1803. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1804. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1805. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1806. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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         SUB-COUNT VIII-44 TENNESSEE: NEGLIGENT PRODUCT CONTAINERS

   1807. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1808. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1809. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1810. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-45 TEXAS: NEGLIGENT PRODUCT CONTAINERS

   1811. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1812. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1813. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1814. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-46 UTAH: NEGLIGENT PRODUCT CONTAINERS

   1815. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1816. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1817. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1818. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-47 VERMONT: NEGLIGENT PRODUCT CONTAINERS

   1819. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1820. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1821. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1822. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT VIII-48 VIRGINIA: NEGLIGENT PRODUCT CONTAINERS

   1823. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1824. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1825. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1826. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

       SUB-COUNT VIII-49 WASHINGTON: NEGLIGENT PRODUCT CONTAINERS

   1827. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1828. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1829. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1830. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT VIII-50 WEST VIRGINIA: NEGLIGENT PRODUCT
                                           CONTAINERS
   1831. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1832. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1833. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1834. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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         SUB-COUNT VIII-51 WISCONSIN: NEGLIGENT PRODUCT CONTAINERS

   1835. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1836. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1837. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1838. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT VIII-52 WYOMING: NEGLIGENT PRODUCT CONTAINERS

   1839. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1840. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1841. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1842. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                COUNT IX: NEGLIGENT STORAGE AND TRANSPORTATION

   1843. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1844. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1845. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1846. Each and every allegation in this paragraph is denied.

   1847. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1848. Each and every allegation in this paragraph is denied.

   1849. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.




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   1850. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1851. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further, this

   paragraph refers to uncited “testing,” which speaks for itself. To the extent the allegations

   contained in this paragraph mischaracterize that “testing” by selectively quoting, omitting, and/or

   emphasizing certain language or by drawing related inferences or stating related opinions, they

   are denied. The allegations in this paragraph are otherwise denied.

   1852. Each and every allegation in this paragraph is denied.

   1853. To the extent the allegations in this paragraph are not directed at Pfizer, they require no

   response from Pfizer. To the extent a response is required, this paragraph refers to the product

   label, which speaks for itself. To the extent the allegations contained in this paragraph

   mischaracterize the label by selectively quoting, omitting, and/or emphasizing certain language

   or by drawing related inferences or stating related opinions, they are denied. The allegations in

   this paragraph are otherwise denied.

   1854. To the extent the allegations in this paragraph are not directed at Pfizer, they require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or




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   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. The allegations in this paragraph are otherwise denied.

   1855. To the extent the allegations in this paragraph are not directed at Pfizer, they require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same. Responding further, this paragraph refers to uncited “agreements,”

   which speak for themselves. To the extent the allegations contained in this paragraph

   mischaracterize those agreements by selectively quoting, omitting, and/or emphasizing certain

   language or by drawing related inferences or stating related opinions, they are denied. The

   allegations in this paragraph are otherwise denied.

   1856. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1857. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1858. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the



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   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1859. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1860. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1861. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1862. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.




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   1863. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1864. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1865. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1866. The allegations in this paragraph are denied as to Pfizer. To the extent the allegations in

   this paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   1867. The allegations in this paragraph are not directed at Pfizer and, therefore, require no

   response from Pfizer. To the extent a response is required, Pfizer lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations of this paragraph and,

   therefore, denies the same.




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   1868. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1869. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-1 ALABAMA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1870. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1871. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1872. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1873. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT IX-2 ALASKA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1874. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1875. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1876. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1877. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-3 ARIZONA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1878. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1879. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1880. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1881. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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               SUB-COUNT IX-4 ARKANSAS: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1882. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1883. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1884. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1885. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-5 CALIFORNIA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1886. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1887. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1888. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1889. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-6 COLORADO: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1890. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1891. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1892. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1893. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT IX-7 CONNECTICUT: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
                                     (Against All Defendants)
   1894. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1895. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1896. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1897. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-8 DELAWARE: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1898. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1899. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1900. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1901. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

         SUB-COUNT IX-9 DISTRICT OF COLUMBIA: NEGLIGENT STORAGE
                                    AND TRANSPORTATION
   1902. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1903. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1904. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1905. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-10 FLORIDA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1906. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1907. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1908. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1909. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                SUB-COUNT IX-11 GEORGIA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1910. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1911. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1912. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1913. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT IX-12 HAWAII: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1914. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1915. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1916. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1917. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT IX-13 IDAHO: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1918. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1919. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1920. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1921. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-14 ILLINOIS: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1922. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1923. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1924. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1925. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-15 INDIANA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1926. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1927. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1928. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1929. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT IX-16 IOWA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1930. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1931. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1932. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1933. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT IX-17 KANSAS: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1934. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1935. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1936. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1937. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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              SUB-COUNT IX-18 KENTUCKY: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1938. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1939. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1940. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1941. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-19 LOUISIANA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1942. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1943. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1944. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1945. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT IX-20 MAINE: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1946. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1947. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1948. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1949. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-21 MARYLAND: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1950. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1951. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1952. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1953. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT IX-22 MASSACHUSETTS: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1954. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1955. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1956. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1957. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-23 MICHIGAN: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1958. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1959. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1960. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1961. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-24 MINNESOTA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1962. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1963. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1964. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1965. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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              SUB-COUNT IX-25 MISSISSIPPI: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1966. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1967. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1968. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1969. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-26 MISSOURI: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1970. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1971. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1972. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1973. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-27 MONTANA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1974. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1975. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1976. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1977. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-28 NEBRASKA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1978. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1979. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   1980. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1981. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-29 NEVADA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1982. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1983. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1984. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1985. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT IX-30 NEW HAMPSHIRE: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1986. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   1987. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1988. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1989. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT IX-31 NEW JERSEY: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1990. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1991. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1992. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1993. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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             SUB-COUNT IX-32 NEW MEXICO: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1994. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1995. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1996. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   1997. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-33 NEW YORK: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   1998. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   1999. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2000. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2001. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT IX-34 NORTH CAROLINA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2002. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2003. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2004. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2005. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

           SUB-COUNT IX-35 NORTH DAKOTA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2006. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2007. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2008. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2009. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT IX-36 OHIO: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2010. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2011. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2012. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2013. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-37 OKLAHOMA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2014. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2015. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2016. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2017. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-38 OREGON: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2018. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2019. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2020. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2021. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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           SUB-COUNT IX-39 PENNSYLVANIA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2022. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2023. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2024. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2025. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT IX-40 PUERTO RICO: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2026. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2027. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2028. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2029. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

            SUB-COUNT IX-41 RHODE ISLAND: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2030. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2031. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2032. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2033. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

          SUB-COUNT IX-42 SOUTH CAROLINA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2034. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2035. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2036. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2037. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

           SUB-COUNT IX-43 SOUTH DAKOTA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2038. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2039. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2040. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2041. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-44 TENNESSEE: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2042. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2043. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2044. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2045. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT IX-45 TEXAS: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2046. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2047. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2048. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2049. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT IX-46 UTAH: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2050. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2051. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2052. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2053. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-47 VERMONT: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2054. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2055. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2056. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2057. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT IX-48 VIRGINIA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2058. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2059. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2060. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2061. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT IX-49 WASHINGTON: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2062. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2063. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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   2064. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2065. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

           SUB-COUNT IX-50 WEST VIRGINIA: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2066. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2067. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2068. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2069. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT IX-51 WISCONSIN: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2070. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2071. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2072. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2073. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT IX-52 WYOMING: NEGLIGENT STORAGE AND
                                       TRANSPORTATION
   2074. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2075. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2076. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2077. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                                COUNT X: UNJUST ENRICHMENT

   2078. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2079. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2080. The allegations as to Pfizer in this paragraph are denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   2081. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.




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   2082. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, Pfizer

   admits only that it held the North American marketing rights to OTC Zantac from 2000 to 2006.

   The allegations as to Pfizer in this paragraph are otherwise denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   2083. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, Pfizer

   admits only that it held the North American marketing rights to OTC Zantac from 2000 to 2006.

   The allegations as to Pfizer in this paragraph are otherwise denied. To the extent that the

   allegations in this paragraph are not directed at Pfizer, they require no response from Pfizer. To

   the extent a response is required, Pfizer lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations of this paragraph and, therefore, denies the same. The

   allegations in this paragraph are otherwise denied.

   2084. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.



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   2085. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2086. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations as to Pfizer in this paragraph are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. Responding further,

   this paragraph refers to uncited FDA statements, which speak for themselves. To the extent the

   allegations contained in this paragraph mischaracterize those statements by selectively quoting,

   omitting, and/or emphasizing certain language or by drawing related inferences or stating related

   opinions, they are denied. The allegations in this paragraph are otherwise denied.

                     SUB-COUNT X-1 ALABAMA: UNJUST ENRICHMENT

   2087. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2088. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2089. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2090. The allegations contained in this paragraph are denied.

                      SUB-COUNT X-2 ALASKA: UNJUST ENRICHMENT

   2091. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2092. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2093. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2094. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-3 ARIZONA: UNJUST ENRICHMENT

   2095. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2096. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2097. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2098. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-4 ARKANSAS: UNJUST ENRICHMENT

   2099. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2100. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2101. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2102. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-5 CALIFORNIA: UNJUST ENRICHMENT

   2103. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2104. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2105. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2106. The allegations contained in this paragraph are denied.




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                    SUB-COUNT X-6 COLORADO: UNJUST ENRICHMENT

   2107. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2108. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2109. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2110. The allegations contained in this paragraph are denied.

                  SUB-COUNT X-7 CONNECTICUT: UNJUST ENRICHMENT

   2111. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2112. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2113. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2114. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-8 DELAWARE: UNJUST ENRICHMENT

   2115. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2116. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2117. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2118. The allegations contained in this paragraph are denied.

             SUB-COUNT X-9 DISTRICT OF COLUMBIA: UNJUST ENRICHMENT

   2119. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2120. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2121. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2122. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-10 FLORIDA: UNJUST ENRICHMENT

   2123. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2124. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2125. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2126. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-11 GEORGIA: UNJUST ENRICHMENT

   2127. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2128. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2129. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2130. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-12 HAWAII: UNJUST ENRICHMENT

   2131. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2132. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2133. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2134. The allegations contained in this paragraph are denied.

                      SUB-COUNT X-13 IDAHO: UNJUST ENRICHMENT

   2135. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2136. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2137. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2138. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-14 ILLINOIS: UNJUST ENRICHMENT

   2139. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2140. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2141. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2142. The allegations contained in this paragraph are denied.




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                     SUB-COUNT X-15 INDIANA: UNJUST ENRICHMENT

   2143. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2144. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2145. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2146. The allegations contained in this paragraph are denied.

                       SUB-COUNT X-16 IOWA: UNJUST ENRICHMENT

   2147. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2148. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2149. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2150. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-17 KANSAS: UNJUST ENRICHMENT

   2151. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2152. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2153. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2154. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-18 KENTUCKY: UNJUST ENRICHMENT

   2155. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2156. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2157. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2158. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-19 LOUISIANA: UNJUST ENRICHMENT

   2159. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2160. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2161. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2162. The allegations contained in this paragraph are denied.

                      SUB-COUNT X-20 MAINE: UNJUST ENRICHMENT

   2163. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2164. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2165. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2166. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-21 MARYLAND: UNJUST ENRICHMENT

   2167. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2168. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2169. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2170. The allegations contained in this paragraph are denied.

               SUB-COUNT X-22 MASSACHUSETTS: UNJUST ENRICHMENT

   2171. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2172. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2173. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2174. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-23 MICHIGAN: UNJUST ENRICHMENT

   2175. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2176. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2177. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2178. The allegations contained in this paragraph are denied.




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                   SUB-COUNT X-24 MINNESOTA: UNJUST ENRICHMENT

   2179. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2180. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2181. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2182. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-25 MISSISSIPPI: UNJUST ENRICHMENT

   2183. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2184. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2185. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2186. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-26 MISSOURI: UNJUST ENRICHMENT

   2187. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2188. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2189. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2190. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-27 MONTANA: UNJUST ENRICHMENT

   2191. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2192. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2193. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2194. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-28 NEBRASKA: UNJUST ENRICHMENT

   2195. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2196. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2197. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2198. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-29 NEVADA: UNJUST ENRICHMENT

   2199. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2200. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2201. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2202. The allegations contained in this paragraph are denied.

               SUB-COUNT X-30 NEW HAMPSHIRE: UNJUST ENRICHMENT

   2203. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2204. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2205. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2206. The allegations contained in this paragraph are denied.

                  SUB-COUNT X-31 NEW JERSEY: UNJUST ENRICHMENT

   2207. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2208. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2209. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2210. The allegations contained in this paragraph are denied.

                  SUB-COUNT X-32 NEW MEXICO: UNJUST ENRICHMENT

   2211. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2212. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2213. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2214. The allegations contained in this paragraph are denied.




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                   SUB-COUNT X-33 NEW YORK: UNJUST ENRICHMENT

   2215. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2216. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2217. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2218. The allegations contained in this paragraph are denied.

               SUB-COUNT X-34 NORTH CAROLINA: UNJUST ENRICHMENT

   2219. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2220. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2221. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2222. The allegations contained in this paragraph are denied.

                SUB-COUNT X-35 NORTH DAKOTA: UNJUST ENRICHMENT

   2223. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2224. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2225. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2226. The allegations contained in this paragraph are denied.

                       SUB-COUNT X-36 OHIO: UNJUST ENRICHMENT

   2227. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2228. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2229. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2230. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-37 OKLAHOMA: UNJUST ENRICHMENT

   2231. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2232. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2233. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2234. The allegations contained in this paragraph are denied.

                     SUB-COUNT X-38 OREGON: UNJUST ENRICHMENT

   2235. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2236. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2237. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2238. The allegations contained in this paragraph are denied.

                SUB-COUNT X-39 PENNSYLVANIA: UNJUST ENRICHMENT

   2239. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2240. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2241. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2242. The allegations contained in this paragraph are denied.

                  SUB-COUNT X-40 PUERTO RICO: UNJUST ENRICHMENT

   2243. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2244. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2245. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2246. The allegations contained in this paragraph are denied.

                 SUB-COUNT X-41 RHODE ISLAND: UNJUST ENRICHMENT

   2247. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2248. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2249. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2250. The allegations contained in this paragraph are denied.




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               SUB-COUNT X-42 SOUTH CAROLINA: UNJUST ENRICHMENT

   2251. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2252. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2253. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2254. The allegations contained in this paragraph are denied.

                SUB-COUNT X-43 SOUTH DAKOTA: UNJUST ENRICHMENT

   2255. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2256. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2257. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2258. The allegations contained in this paragraph are denied.

                   SUB-COUNT X-44 TENNESSEE: UNJUST ENRICHMENT

   2259. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2260. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2261. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2262. The allegations contained in this paragraph are denied.

                      SUB-COUNT X-45 TEXAS: UNJUST ENRICHMENT

   2263. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2264. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2265. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2266. The allegations contained in this paragraph are denied.

                       SUB-COUNT X-46 UTAH: UNJUST ENRICHMENT

   2267. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2268. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2269. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2270. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-47 VERMONT: UNJUST ENRICHMENT

   2271. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2272. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2273. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2274. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-48 VIRGINIA: UNJUST ENRICHMENT

   2275. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2276. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2277. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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   2278. The allegations contained in this paragraph are denied.

                  SUB-COUNT X-49 WASHINGTON: UNJUST ENRICHMENT

   2279. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2280. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2281. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2282. The allegations contained in this paragraph are denied.

                SUB-COUNT X-50 WEST VIRGINIA: UNJUST ENRICHMENT

   2283. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2284. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2285. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2286. The allegations contained in this paragraph are denied.




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                   SUB-COUNT X-51 WISCONSIN: UNJUST ENRICHMENT

   2287. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2288. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2289. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2290. The allegations contained in this paragraph are denied.

                    SUB-COUNT X-52 WYOMING: UNJUST ENRICHMENT

   2291. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2292. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2293. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2294. The allegations contained in this paragraph are denied.

                               COUNT XI: LOSS OF CONSORTIUM

   2295. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the



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   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2296.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   2297.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   2298.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   2299.   Pfizer lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations of this paragraph and, therefore, denies the same. The allegations in this paragraph

   are otherwise denied.

   2300. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the




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   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

                    SUB-COUNT XI-1 ALABAMA: LOSS OF CONSORTIUM

   2301. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2302. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-2 ALASKA: LOSS OF CONSORTIUM

   2303. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2304. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-3 ARIZONA: LOSS OF CONSORTIUM

   2305. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2306. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-4 ARKANSAS: LOSS OF CONSORTIUM

   2307. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.



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   2308. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-5 CALIFORNIA: LOSS OF CONSORTIUM

   2309. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2310. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-6 COLORADO: LOSS OF CONSORTIUM

   2311. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2312. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XI-7 CONNECTICUT: LOSS OF CONSORTIUM

   2313. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2314. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XI-8 DELAWARE: LOSS OF CONSORTIUM

   2315. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2316. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT XI-9 DISTRICT OF COLUMBIA: LOSS OF CONSORTIUM

   2317. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2318. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-10 FLORIDA: LOSS OF CONSORTIUM

   2319. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2320. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-11 GEORGIA: LOSS OF CONSORTIUM

   2321. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2322. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-12 HAWAII: LOSS OF CONSORTIUM

   2323. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2324. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-13 IDAHO: LOSS OF CONSORTIUM

   2325. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2326. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-14 ILLINOIS: LOSS OF CONSORTIUM

   2327. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2328. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-15 INDIANA: LOSS OF CONSORTIUM




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   2329. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2330. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XI-16 IOWA: LOSS OF CONSORTIUM

   2331. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2332. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-17 KANSAS: LOSS OF CONSORTIUM

   2333. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2334. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-18 KENTUCKY: LOSS OF CONSORTIUM

   2335. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2336. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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                  SUB-COUNT XI-19 LOUISIANA: LOSS OF CONSORTIUM

   2337. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2338. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-20 MAINE: LOSS OF CONSORTIUM

   2339. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2340. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-21 MARYLAND: LOSS OF CONSORTIUM

   2341. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2342. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT XI-22 MASSACHUSETTS: LOSS OF CONSORTIUM

   2343. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2344. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-23 MICHIGAN: LOSS OF CONSORTIUM

   2345. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2346. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-24 MINNESOTA: LOSS OF CONSORTIUM

   2347. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2348. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-25 MISSISSIPPI: LOSS OF CONSORTIUM

   2349. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2350. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XI-26 MISSOURI: LOSS OF CONSORTIUM

   2351. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2352. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-27 MONTANA: LOSS OF CONSORTIUM

   2353. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2354. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-28 NEBRASKA: LOSS OF CONSORTIUM

   2355. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2356. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-29 NEVADA: LOSS OF CONSORTIUM

   2357. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2358. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT XI-30 NEW HAMPSHIRE: LOSS OF CONSORTIUM

   2359. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2360. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XI-31 NEW JERSEY: LOSS OF CONSORTIUM

   2361. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2362. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XI-32 NEW MEXICO: LOSS OF CONSORTIUM

   2363. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2364. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XI-33 NEW YORK: LOSS OF CONSORTIUM

   2365. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2366. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT XI-34 NORTH CAROLINA: LOSS OF CONSORTIUM

   2367. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2368. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XI-35 NORTH DAKOTA: LOSS OF CONSORTIUM

   2369. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2370. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XI-36 OHIO: LOSS OF CONSORTIUM

   2371. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2372. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-37 OKLAHOMA: LOSS OF CONSORTIUM

   2373. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2374. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-38 OREGON: LOSS OF CONSORTIUM

   2375. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2376. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XI-39 PENNSYLVANIA: LOSS OF CONSORTIUM

   2377. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2378. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                 SUB-COUNT XI-40 PUERTO RICO: LOSS OF CONSORTIUM

   2379. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2380. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XI-41 RHODE ISLAND: LOSS OF CONSORTIUM

   2381. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2382. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

              SUB-COUNT XI-42 SOUTH CAROLINA: LOSS OF CONSORTIUM

   2383. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2384. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XI-43 SOUTH DAKOTA: LOSS OF CONSORTIUM

   2385. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2386. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XI-44 TENNESSEE: LOSS OF CONSORTIUM

   2387. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2388. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XI-45 TEXAS: LOSS OF CONSORTIUM

   2389. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2390. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XI-46 UTAH: LOSS OF CONSORTIUM

   2391. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2392. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XI-47 VERMONT: LOSS OF CONSORTIUM

   2393. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2394. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XI-48 VIRGINIA: LOSS OF CONSORTIUM

   2395. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2396. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XI-49 WASHINGTON: LOSS OF CONSORTIUM

   2397. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2398. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XI-50 WEST VIRGINIA: LOSS OF CONSORTIUM

   2399. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2400. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-51 WISCONSIN: LOSS OF CONSORTIUM

   2401. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2402. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XI-52 WYOMING: LOSS OF CONSORTIUM

   2403. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2404. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                                 COUNT XII: SURVIVAL ACTIONS

   2405. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.



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   2406. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2407. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2408. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2409. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the



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   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2410. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2411. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

                      SUB-COUNT XII-1 ALABAMA: SURVIVAL ACTION

   2412. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2413. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XII-2 ALASKA: SURVIVAL ACTIONS

   2414. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2415. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XII-3 ARIZONA: SURVIVAL ACTIONS

   2416. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2417. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-4 ARKANSAS: SURVIVAL ACTIONS

   2418. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2419. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XII-5 CALIFORNIA: SURVIVAL ACTIONS

   2420. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2421. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-6 COLORADO: SURVIVAL ACTIONS

   2422. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2423. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XII-7 CONNECTICUT: SURVIVAL ACTIONS

   2424. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2425. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-8 DELAWARE: SURVIVAL ACTIONS

   2426. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2427. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

             SUB-COUNT XII-9 DISTRICT OF COLUMBIA: SURVIVAL ACTIONS

   2428. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2429. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-10 FLORIDA: SURVIVAL ACTIONS

   2430. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2431. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-11 GEORGIA: SURVIVAL ACTIONS

   2432. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2433. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                      SUB-COUNT XII-12 HAWAII: SURVIVAL ACTIONS

   2434. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2435. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XII-13 IDAHO: SURVIVAL ACTIONS

   2436. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2437. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-14 ILLINOIS: SURVIVAL ACTIONS

   2438. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2439. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-15 INDIANA: SURVIVAL ACTIONS

   2440. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2441. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XII-16 IOWA: SURVIVAL ACTIONS

   2442. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2443. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XII-17 KANSAS: SURVIVAL ACTIONS

   2444. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2445. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-18 KENTUCKY: SURVIVAL ACTIONS

   2446. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2447. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                    SUB-COUNT XII-19 LOUISIANA: SURVIVAL ACTIONS

   2448. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2449. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XII-20 MAINE: SURVIVAL ACTIONS

   2450. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2451. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-21 MARYLAND: SURVIVAL ACTIONS

   2452. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2453. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XII-22 MASSACHUSETTS: SURVIVAL ACTIONS

   2454. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2455. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-23 MICHIGAN: SURVIVAL ACTIONS

   2456. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2457. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-24 MINNESOTA: SURVIVAL ACTIONS

   2458. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2459. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-25 MISSISSIPPI: SURVIVAL ACTIONS

   2460. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2461. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                     SUB-COUNT XII-26 MISSOURI: SURVIVAL ACTIONS

   2462. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2463. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-27 MONTANA: SURVIVAL ACTIONS

   2464. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2465. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-28 NEBRASKA: SURVIVAL ACTIONS

   2466. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2467. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XII-29 NEVADA: SURVIVAL ACTIONS

   2468. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2469. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XII-30 NEW HAMPSHIRE: SURVIVAL ACTIONS

   2470. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2471. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-31 NEW JERSEY: SURVIVAL ACTIONS

   2472. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2473. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XII-32 NEW MEXICO: SURVIVAL ACTIONS

   2474. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2475. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                    SUB-COUNT XII-33 NEW YORK: SURVIVAL ACTIONS

   2476. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2477. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XII-34 NORTH CAROLINA: SURVIVAL ACTIONS

   2478. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2479. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XII-35 NORTH DAKOTA: SURVIVAL ACTIONS

   2480. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2481. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                        SUB-COUNT XII-36 OHIO: SURVIVAL ACTIONS

   2482. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2483. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-37 OKLAHOMA: SURVIVAL ACTIONS

   2484. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2485. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-38 OREGON: SURVIVAL ACTIONS

   2486. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2487. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XII-39 PENNSYLVANIA: SURVIVAL ACTIONS

   2488. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2489. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                  SUB-COUNT XII-40 PUERTO RICO: SURVIVAL ACTIONS

   2490. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2491. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XII-41 RHODE ISLAND: SURVIVAL ACTIONS

   2492. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2493. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XII-42 SOUTH CAROLINA: SURVIVAL ACTIONS

   2494. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2495. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XII-43 SOUTH DAKOTA: SURVIVAL ACTIONS

   2496. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2497. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XII-44 TENNESSEE: SURVIVAL ACTIONS

   2498. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2499. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XII-45 TEXAS: SURVIVAL ACTIONS

   2500. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2501. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XII-46 UTAH: SURVIVAL ACTIONS

   2502. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2503. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                    SUB-COUNT XII-47 VERMONT: SURVIVAL ACTIONS

   2504. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2505. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-48 VIRGINIA: SURVIVAL ACTIONS

   2506. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2507. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XII-49 WASHINGTON: SURVIVAL ACTIONS

   2508. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2509. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XII-50 WEST VIRGINIA: SURVIVAL ACTIONS

   2510. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2511. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XII-51 WISCONSIN: SURVIVAL ACTIONS

   2512. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2513. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XII-52 WYOMING: SURVIVAL ACTIONS

   2514. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2515. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                                COUNT XIII: WRONGFUL DEATH

   2516. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

   2517. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a



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   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2518. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

   2519. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, the

   allegations in this paragraph as to Pfizer are denied. To the extent that the allegations in this

   paragraph are not directed at Pfizer, they require no response from Pfizer. To the extent a

   response is required, Pfizer lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations of this paragraph and, therefore, denies the same. The allegations in this

   paragraph are otherwise denied.

                     SUB-COUNT XIII-1 ALABAMA: WRONGFUL DEATH

   2520. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2521. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.



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                      SUB-COUNT XIII-2 ALASKA: WRONGFUL DEATH

   2522. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2523. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-3 ARIZONA: WRONGFUL DEATH

   2524. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2525. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-4 ARKANSAS: WRONGFUL DEATH

   2526. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2527. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-5 CALIFORNIA: WRONGFUL DEATH

   2528. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2529. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-6 COLORADO: WRONGFUL DEATH

   2530. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2531. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XIII-7 CONNECTICUT: WRONGFUL DEATH

   2532. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2533. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-8 DELAWARE: WRONGFUL DEATH

   2534. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2535. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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             SUB-COUNT XIII-9 DISTRICT OF COLUMBIA: WRONGFUL DEATH

   2536. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2537. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-10 FLORIDA: WRONGFUL DEATH

   2538. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2539. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-11 GEORGIA: WRONGFUL DEATH

   2540. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2541. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XIII-12 HAWAII: WRONGFUL DEATH

   2542. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2543. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XIII-13 IDAHO: WRONGFUL DEATH

   2544. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2545. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-14 ILLINOIS: WRONGFUL DEATH

   2546. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2547. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-15 INDIANA: WRONGFUL DEATH

   2548. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2549. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                       SUB-COUNT XIII-16 IOWA: WRONGFUL DEATH

   2550. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2551. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XIII-17 KANSAS: WRONGFUL DEATH

   2552. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2553. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-18 KENTUCKY: WRONGFUL DEATH

   2554. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2555. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-19 LOUISIANA: WRONGFUL DEATH

   2556. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2557. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XIII-20 MAINE: WRONGFUL DEATH

   2558. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2559. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-21 MARYLAND: WRONGFUL DEATH

   2560. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2561. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XIII-22 MASSACHUSETTS: WRONGFUL DEATH

   2562. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2563. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                    SUB-COUNT XIII-23 MICHIGAN: WRONGFUL DEATH

   2564. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2565. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-24 MINNESOTA: WRONGFUL DEATH

   2566. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2567. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-25 MISSISSIPPI: WRONGFUL DEATH

   2568. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2569. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-26 MISSOURI: WRONGFUL DEATH

   2570. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2571. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-27 MONTANA: WRONGFUL DEATH

   2572. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2573. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-28 NEBRASKA: WRONGFUL DEATH

   2574. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2575. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-29 NEVADA: WRONGFUL DEATH

   2576. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2577. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                SUB-COUNT XIII-30 NEW HAMPSHIRE: WRONGFUL DEATH

   2578. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2579. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                   SUB-COUNT XIII-31 NEW JERSEY: WRONGFUL DEATH

   2580. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2581. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XIII-32 NEW MEXICO: WRONGFUL DEATH

   2582. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2583. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-33 NEW YORK: WRONGFUL DEATH

   2584. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2585. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XIII-34 NORTH CAROLINA: WRONGFUL DEATH

   2586. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2587. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XIII-35 NORTH DAKOTA: WRONGFUL DEATH

   2588. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2589. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XIII-36 OHIO: WRONGFUL DEATH

   2590. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2591. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XIII-37 OKLAHOMA: WRONGFUL DEATH

   2592. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2593. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-38 OREGON: WRONGFUL DEATH

   2594. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2595. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XIII-39 PENNSYLVANIA: WRONGFUL DEATH

   2596. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2597. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XIII-40 PUERTO RICO: WRONGFUL DEATH

   2598. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2599. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XIII-41 RHODE ISLAND: WRONGFUL DEATH

   2600. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2601. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

               SUB-COUNT XIII-42 SOUTH CAROLINA: WRONGFUL DEATH

   2602. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2603. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                SUB-COUNT XIII-43 SOUTH DAKOTA: WRONGFUL DEATH

   2604. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2605. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                   SUB-COUNT XIII-44 TENNESSEE: WRONGFUL DEATH

   2606. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2607. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XIII-45 TEXAS: WRONGFUL DEATH

   2608. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2609. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                       SUB-COUNT XIII-46 UTAH: WRONGFUL DEATH

   2610. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2611. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                    SUB-COUNT XIII-47 VERMONT: WRONGFUL DEATH

   2612. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.




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   2613. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                     SUB-COUNT XIII-48 VIRGINIA: WRONGFUL DEATH

   2614. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2615. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                  SUB-COUNT XIII-49 WASHINGTON: WRONGFUL DEATH

   2616. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2617. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                 SUB-COUNT XIII-50 WEST VIRGINIA: WRONGFUL DEATH

   2618. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2619. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.




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                      SUB-COUNT XIII-51 WISCONSIN: WRONGFUL DEATH

   2620. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2621. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                      SUB-COUNT XIII-52 WYOMING: WRONGFUL DEATH

   2622. Pfizer’s responses to each of the allegations contained in the preceding paragraphs of this

   Answer are repeated and incorporated as though fully contained herein.

   2623. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                                         JURY TRIAL DEMAND

   2624. The allegations contained in this paragraph state a legal conclusion as to which no

   response is required. To the extent the allegations in this paragraph require a response, they are

   denied.

                              PFIZER INC.’S AFFIRMATIVE DEFENSES

             By asserting the matters set forth below, Pfizer does not allege or admit that it has the

   burden of proof and/or the burden of persuasion with respect to any of these matters. Pfizer

   reserves its rights to seek to amend and supplement these Affirmative Defenses as may be

   appropriate or necessary. Pfizer asserts as follows:




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                                     FIRST AFFIRMATIVE DEFENSE

           The SAMPIC, in whole or in part, fails to state a claim or cause of action upon which

   relief can be granted.

                                 SECOND AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred because Plaintiffs cannot proffer any scientifically reliable

   evidence that the product at issue was defective or unreasonably dangerous.

                                     THIRD AFFIRMATIVE DEFENSE

           Without admitting that the product at issue was manufactured and/or sold by Pfizer, to

   the extent Pfizer had any duty with respect to the sale and/or manufacture of the product, such

   duty was fully discharged by the giving of adequate instructions and warnings concerning its use.

                                 FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ alleged injuries and/or medical expenses resulted from pre-existing or

   unrelated medical, psychiatric, genetic, or environmental conditions, diseases, or illnesses.

                                     FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of federal preemption.

                                     SIXTH AFFIRMATIVE DEFENSE

           If Plaintiffs suffered injuries and damages by reason of operation of nature or

   idiosyncratic and/or allergic reaction to the product, used whether alone or in combination with

   any drug, Pfizer is not liable.

                                SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred or reduced under the principles of assumption of the risk

   and/or informed consent.




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                                EIGHTH AFFIRMATIVE DEFENSE

          Plaintiffs’ recovery, if any, from Pfizer should be reduced, offset, or barred by the

   contributory or comparative negligence, fault, responsibility, or causation attributable to

   Plaintiffs or to some third party other than Pfizer.

                                 NINTH AFFIRMATIVE DEFENSE

          Plaintiffs’ injuries and damages, if any, were caused in whole or in part by an alteration,

   change, unintended use, or misuse of the product at issue.

                                 TENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ alleged injuries were caused or contributed to be caused by the intervening

   acts, superseding negligence, and/or subsequent conduct or fault on the part of a person or entity

   over whom Pfizer neither had control nor right of control and, therefore, Plaintiffs’ claims are

   barred and/or Pfizer is entitled to an apportionment of damages accordingly.

                              ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ alleged damages were not proximately caused by any act or omission of Pfizer

   and/or were caused or proximately caused by some person or third party other than Pfizer for

   whom Pfizer is not legally responsible.

                               TWELFTH AFFIRMATIVE DEFENSE

          One or more of the claims set forth in the SAMPIC are barred in whole or in part by the

   applicable statutes of limitation and/or statutes of repose.

                             THIRTEENTH AFFIRMATIVE DEFENSE

          Pfizer specifically pleads collateral estoppel, res judicata, waiver, laches, and failure to

   mitigate or minimize damages, if any.




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                             FOURTEENTH AFFIRMATIVE DEFENSE

            Any acts performed by Pfizer in the design, manufacture, and marketing of the product at

   issue were in conformity with the “state of the art” existing at the time of such design,

   manufacture, and marketing, and public policy should hold that liability not be imposed on Pfizer

   for untold risks not known at the time of design, manufacture, and marketing of the product at

   issue.

                               FIFTEENTH AFFIRMATIVE DEFENSE

            Plaintiffs’ claims are subject to the limitations set forth in the Restatement (Second) of

   Torts, section 402A, comment k, and/or the Restatement (Third) of Torts.

                               SIXTEENTH AFFIRMATIVE DEFENSE

            Pfizer had no duty to warn of the possible dangers of using the product at issue, the

   existence of which are denied, that were not known at the time of manufacture or sale of the

   product.

                             SEVENTEENTH AFFIRMATIVE DEFENSE

            All of Pfizer’s activities and conduct conformed to all state and federal statutes,

   regulations, and industry standards based upon the state of knowledge existing at the relevant

   time.

                              EIGHTEENTH AFFIRMATIVE DEFENSE

            The methods, standards, and techniques utilized by Pfizer in designing, formulating,

   manufacturing, and marketing the product at issue and in issuing warnings and instructions with

   respect to its use were proper and in conformity with the generally recognized, reasonably

   available, and reliable state of knowledge in the field at the time the product was manufactured.




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                             NINETEENTH AFFIRMATIVE DEFENSE

           The injuries and/or damages claimed by Plaintiffs were the result of unavoidable

   circumstances that Pfizer could not have prevented.

                             TWENTIETH AFFIRMATIVE DEFENSE

           The injuries and/or damages claimed by Plaintiffs were the result of a pre-existing

   condition unrelated to any conduct of, or products placed in the stream of commerce by, Pfizer.

                           TWENTY-FIRST AFFIRMATIVE DEFENSE

           The conduct of Pfizer in all activities with respect to the product at issue has been and is

   under the supervision of FDA. Accordingly, this action is barred by the doctrine of primary

   jurisdiction.

                          TWENTY-SECOND AFFIRMATIVE DEFENSE

           The alleged negligent or culpable conduct of Pfizer, none being admitted, was so

   insubstantial as to be insufficient to be a proximate or substantial contributing cause of Plaintiffs’

   alleged injuries.

                           TWENTY-THIRD AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred in whole or in part by the sophisticated user defense.

                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

           The injuries and/or damages claimed by Plaintiffs can be attributed to several causes and,

   accordingly, should be apportioned among the various causes according to the respective

   contribution of each such cause to the harm sustained.




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                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred because the use of the product at issue was generally

   recognized as safe and effective pursuant to conditions established by FDA and applicable

   regulations, including packaging and labeling regulations.

                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

          The public interest, benefit, and availability of the product at issue outweigh the risks, if

   any, resulting from such activities, which were unavoidable given the state of knowledge at the

   time those activities were undertaken.

                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred in whole or in part by the principles of the learned

   intermediary and/or experienced user doctrine.

                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE

          Any verdict or judgment rendered against Pfizer must be reduced by those amounts that

   have or will, with reasonable certainty, replace or indemnify Plaintiffs, in whole or in part, for

   any past or future claimed economic loss, from any collateral source such as insurance, Social

   Security, worker’s compensation, or employee benefit programs.

                           TWENTY-NINTH AFFIRMATIVE DEFENSE

          No act or omission of Pfizer was malicious, willful, wanton, reckless, grossly negligent,

   or intentional, and therefore any award of punitive damages is barred.

                              THIRTIETH AFFIRMATIVE DEFENSE

          At the time the product left Pfizer’s control, there was not a practical and technically

   feasible alternative design that would have prevented the harm without substantially impairing

   the reasonably anticipated or intended function of the product.



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                            THIRTY-FIRST AFFIRMATIVE DEFENSE

          Pfizer is not liable for any harm caused because the product at issue contained an

   adequate warning as evidenced by its approval by FDA under the Federal Food, Drug, and

   Cosmetic Act.

                          THIRTY-SECOND AFFIRMATIVE DEFENSE

          Punitive damages are not available to Plaintiffs because the drug at issue was subject to

   premarket approval or licensure by FDA under the Federal Food, Drug, and Cosmetic Act and

   was approved or licensed.

                           THIRTY-THIRD AFFIRMATIVE DEFENSE

          Pfizer relies upon all defenses contained in any applicable state statute or law.

                          THIRTY-FOURTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred, in whole or in part, because there was no deceptive act or

   practice.

                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

          None of Pfizer’s acts, conduct, omissions, or statements alleged in the SAMPIC was

   likely to mislead.

                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs and/or their

   prescribing physicians knew, at all times, the characteristics, uses, benefits, standard, and quality

   of the product at issue and therefore could not have justifiably relied on the alleged

   misrepresentations or omissions in the SAMPIC.




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                         THIRTY-SEVENTH AFFIRMATIVE DEFENSE

          The representations and advertising regarding the product at issue are not unlawful

   because they are not, and were not, in violation of any law or regulation.

                          THIRTY-EIGHTH AFFIRMATIVE DEFENSE

          The representations and advertising regarding the product at issue were not and are not

   fraudulent. No representation or advertisement contains any false or misleading statement or

   promises intended to deceive the public. As such, the representations and advertising are not,

   and were not, fraudulent.

                           THIRTY-NINTH AFFIRMATIVE DEFENSE

          Plaintiffs are not entitled to relief under the statutes and legal theories invoked in their

   SAMPIC because Plaintiffs lack standing.

                               FORTIETH AFFIRMATIVE DEFENSE

          Pfizer has fully performed any and all contractual, statutory, and other duties, and

   Plaintiffs are therefore estopped from asserting any cause of action against Pfizer.

                            FORTY-FIRST AFFIRMATIVE DEFENSE

          Any award to Plaintiffs in this action would constitute unjust enrichment.

                           FORTY-SECOND AFFIRMATIVE DEFENSE

          The SAMPIC and each cause of action therein presented are vague, ambiguous, and

   uncertain. Pfizer reserves the right to add additional defenses as the factual bases for each of

   Plaintiffs’ claims and allegations become known.

                            FORTY-THIRD AFFIRMATIVE DEFENSE

          To the extent Plaintiffs purport to seek equitable relief to mandate the specific content of

   Pfizer’s product labels, Plaintiffs’ SAMPIC violates Pfizer’s right to freedom of speech under the



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   First Amendment of the United States Constitution and the similar provisions in any applicable

   state constitutions.

                           FORTY-FOURTH AFFIRMATIVE DEFENSE

           Pfizer is not liable for injuries or damages caused by any product that Pfizer did not sell

   or distribute pursuant to the NDAs that it held for Zantac.

                             FORTY-FIFTH AFFIRMATIVE DEFENSE

           Pfizer denies this court has personal jurisdiction over it and hereby alleges lack of

   personal jurisdiction as a separate affirmative defense.

                             FORTY-SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims for punitive damages are in violation of Pfizer’s rights under the Due

   Process Clause of the Fifth and Fourteenth Amendments of the United States Constitution and

   similar provisions in any applicable state constitutions and/or applicable state common law and

   public polices, and/or applicable statutes and court rules, in the circumstances of the litigation.

   See, e.g., State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003).

                           FORTY-SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims for punitive damages are in violation of Pfizer’s rights under the

   Excessive Fines Clause of the Eighth Amendment of the United States Constitution; the Double

   Jeopardy Clause of the Fifth Amendment of the United States Constitution; the Free Speech

   Clause of the First Amendment of the United States Constitution; the Commerce Clause of

   Article I, Section 8 of the United States Constitution; the Contracts Clause of Article I, Section

   10 of the United States Constitution; similar provisions in any applicable state constitutions

   and/or applicable state common law and public policies; and/or applicable statutes and court

   rules, in the circumstances of this litigation.



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                           FORTY-EIGHTH AFFIRMATIVE DEFENSE

          Because of the lack of clear standards, the imposition of punitive damages against Pfizer

   is unconstitutionally vague and/or overbroad.

                            FORTY-NINTH AFFIRMATIVE DEFENSE

          The Zantac labeling was not false or misleading in any particular, and the product

   accordingly was not misbranded.

                                       DEFENSES RESERVED


          Pfizer hereby gives notice that it intends to rely upon any other defense that may become

   available or appear during the discovery proceedings in the case and hereby reserves the right to

   amend this Answer to assert any such defense. Pfizer also reserves the right to assert other and

   related defenses as may become available upon a determination of the law applicable to the

   action or any part thereof or claim therein.

                                         PRAYER FOR RELIEF

   WHEREFORE, Pfizer prays for judgment as follows:

      1. That Plaintiffs take nothing;

      2. That the Court enter judgment in favor of Pfizer on each remaining cause of action

      alleged in the SAMPIC;

      3. That Pfizer be awarded its costs, expenses, and reasonable attorney’s fees; and

      4. That the Court grant Pfizer all further legal and equitable relief that it deems just and

      proper.

                                     JURY TRIAL DEMANDED

          Pfizer demands a trial by jury on all claims triable by jury.




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                              DEMAND FOR BIFURCATED TRIAL

          If Plaintiffs are permitted to proceed to trial upon any claims for punitive or exemplary

   damages, such claims, if any, must be bifurcated from the remaining issues.


   Dated: August 23, 2021                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 23, 2021 a copy of the foregoing ANSWER AND

   AFFIRMATIVE DEFENSES OF PFIZER INC. was filed with the Clerk of Court using the

   CM/ECF system, which will provide automatic notification to all counsel of record.

                                                      /s/ Joseph G. Petrosinelli
                                                      Joseph G. Petrosinelli




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